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                                       CONFIDENTIAL


                             UNANIMOUS WRITTEN
                             UNANIMOUS WRITTEN CONSENT
                                               CONSENT
                       IN LIEU OF
                               OF AN ORGANIZATIONALMEETING
                                  AN ORGANIZATIONAL MEETING
                                                    of
                                  TIIE BOARD
                                  THE  BOARD OF
                                             OF DIRECTORS
                                                    of
                          STUDENTS
                          STUDENTS FOR  FAIR ADMISSIONS,
                                   Fos- PAIR ADMISSIONS;VC.
                                                         INCe


         The "undersigned,
         The                being and
              undersigned, being   and oonstituting
                                        constituting all
                                                       all of the
                                                                the initial members of  of the
                                                                                           the Board
                                                                                                Board of
                                                                                                       of
Directors
Directors ofof Students for   Fair A.dmissions,
                         for Fair   Admissions, Inc.
                                                   Inc. (the
                                                          (the "Corporation"),
                                                                 "Corporation"), a Virginia
                                                                                   a Virginia nonatodk
                                                                                                 nonstock
corporation,   or purposes of taking
corporation, for                      action in
                               taking action  in lieu  of an
                                                 lieu of   an organizatiOnal   meeting of
                                                               organizational meeting    of the
                                                                                            the Board of
                                                                                                       of
Dineetere
Directors -or
            of tile
               the Corporation,
                    Corporation, pursuant
                                  pursuant to
                                            to Sections
                                                 Sections 13.1-86$
                                                             13.1-865 and
                                                                        and 13.1-867
                                                                              13.1-867 of    the Virginia
                                                                                         of the
Nonstock ciOrporation
Nonstock   Corporation Act,
                        Act, hereby
                             hereby adopt the
                                           the following
                                                following resolutions
                                                             resolutions and
                                                                          and waive
                                                                              waive all
                                                                                     all requirements of
notice·
notice:.

                                         Adoption
                                         Adoption of
                                                  of Bylaws
                                                     Bylaws

        WHEREAS,
        WHEREAS, the the Articles of
                                  of Incorporation.
                                     Incorporation hive
                                                    have been duly filed
                                                         been duly filed with
                                                                         with the
                                                                              the office
                                                                                   office of the.
                                                                                              the
Virginia
Virginia State
         State COrpOration_Commission
               Corporation Commission of of the Commonwealth of
                                            the Commonwealth   of Virginia
                                                                  Virginia as
                                                                           as of July 30,
                                                                              of July   30, 2014,
                                                                                            2014,
and
and


        WHEREAS, the
        WHEREAS,     the Bylaws
                         Bylaws ofof the  Corporation (Exhibit Al
                                      the Corporation          A) have been presented to
                                                                  have been           to the
                                                                                         the Board
                                                                                             Board
of DirectMs
   Directors of
             of the Corporation, it
                the Corporation, it is
                                    is hereby:
                                        hereby:

        RESOLVED, that
        RESOLVED,            said Bylaws
                       that said.  Bylaws ofof the  Corporation are
                                               the Corporation   are adopted      hi
                                                                                  in their
                                                                                     their entirety
                                                                                           entirety and
                                                                                                    and
ordered to
ordered    be aa permanent
        to be    permanent part
                            part of
                                 of the
                                    the records of
                                                of the
                                                   the Corporation.
                                                       Corporation.

                                          Election of Officers
                                          Election of Officers

        WHEREAS;
        WHEREAS, the  the election
                          election of officers       Corporation is
                                               ofthe Corporation
                                      officers ofthe             is to
                                                                    to be     ettaken as
                                                                       be tundertaken as specified
                                                                                         specified in
                                                                                                   in
the Bylaws, it
the Bylaws, it is
               is hereby:
                  hereby:

       RESOLVED,
        RESOLVED, that  that the
                              the fond:Whig
                                  following persons
                                              persons          are elected to
                                                       hereby are           to the
                                                                                the offices
                                                                                      offices set
                                                                                               set forth
                                                                                                   forth
opposite their
opposite  their name*
                 names, to
                         to serve
                            serve until their respective successors are elected,
                                  until their respective successors  are elected,  or
                                                                                   or  until
                                                                                       until their
                                                                                             their prior
                                                                                                   prior
resignation'or  removal:
resignation or removal:

                                      of Officer
                                Name ,of
                                Name     Officer         Coiporate
                                                         Corporate Office
                                                                   Office
                                Edward
                                Edward Blum
                                        Blum             Pretident
                                                         President
                                Abigail-Fisher
                                Abigail Fisher           Secretary
                                Richard
                                Richard Fisher           Treasurer
                                                         Treasurer


                                    Other Organizational
                                    Othey Organizational Actions
                                                         Actions

         WHEREAS, the
         WHEREAS,                       organizational ;actions
                           following organizational
                       the following                    actions off the  Corporation have
                                                                    the Corporation   have been
                                                                                            been reviewed
                                                                                                 reviewed
by  the Board, and
by the          and the
                    the I3oard
                         Board deems
                                  deems it  is advisable and
                                         it is           and in
                                                              in the  best interests of
                                                                 the best            of the Corporation to
                                                                                        the Corporation to

take  the following actions, it
take thefollOwhigations,         is hereby
                              it is hereby:




                                                                                                    SFFA
                                                                                                    SFFA 000068
                                                                                                         000068

                                                                                                EXHIBIT L, PAGE 1
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       usoLvEp,
        RESOLVED, that that the
                             the officers
                                  officers of
                                            of the
                                                the Corporation
                                                      Corporation shall
                                                                   shall make
                                                                          make such
                                                                                  such filings
                                                                                        filings and   take such
                                                                                                 and take   such
actions as
        as may
            may bebe necessary
                     necessary to to cause          Corporation to
                                              the Corporation
                                       cause the                  to receive
                                                                      receive from
                                                                                from the
                                                                                       the Internal
                                                                                             Internal ReVenue
                                                                                                       Revenue
Service
Service a determination
          adetermination letter
                           letter reCognizing-.the
                                   recognizing the tax   tax exemption
                                                             exemption ofof the
                                                                            the Corporation
                                                                                 Corporation under
                                                                                                 under Section
                                                                                                         Section
501(0(3)
501(c)(3) of
          of the
             the Internal
                 Internal Revenue
                           Revenue Cam;       and it
                                       Code; and    it is
                                                       is



         FURTHER
         FURTHER RESOLVED,
                      RESOLVED, that       the accounting
                                      that the  accounting and
                                                            and taxtax yeas  of the
                                                                       year of  the Corporation
                                                                                    Corporation shall
                                                                                                 shall be
                                                                                                        be
January lit
          lst through
              through December
                       December 31st,
                                   31st, unless
                                         unless otherwise.determined
                                                 otherwise determined by;resolution
                                                                          by resolution of the
                                                                                           the Board at
                                                                                                      at a      a


later;date
later date pursuant to
                     to the
                        the provisions
                            provisions of the
                                           the Bylam;
                                               Bylaws; and
                                                        and kis
                                                             it is



        FUXFHER
        FURTHER RESOLVED, that     that the
                                        the officers
                                             officers of
                                                      of the
                                                          the Corporation
                                                               Corporation are
                                                                            are hereby authorized
                                                                                        authorized to
                                                                                                    to

pay all fees
pay all      and expenses
        fees and expenses incident
                          incident to
                                   to and
                                      and necessary
                                           necessary 1b
                                                      for the
                                                           the organization
                                                               organization of
                                                                            of the
                                                                               the Corporation;
                                                                                   Corporation; and
                                                                                                and it
                                                                                                     it
is

        FURTHER
        FURTHER RESOLVED
                     RESOLVED,).. that      the officers of
                                      that die,officers        the Corporation
                                                            of the   Corporation are are hereby
                                                                                          hereby atithorized
                                                                                                    authorized to
                                                                                                                to
open
open such
      such bank
           bank accounts     in the
                  accounts hi,       name of
                                 the name             Corporation in
                                                  the Corporation:
                                             of the                       such bank
                                                                      in such    bank oror banks
                                                                                            banks asas they
                                                                                                       they shall
                                                                                                             shall
determine necessary
determine  necessary kit
                      for the
                           the deposit
                                 deposit Ofof Thticis  belonging to
                                               funds behniging          the Corporation,
                                                                    to the    Corporation, such      funds to
                                                                                               such funds   to be
                                                                                                               be
withdrawn only
withdrawn        by aheek of
           only bk- check  of the
                               the CorporatiOn and
                                    Corporation         other Orders:for the
                                                    and Other  orders   for  the payment     of money drawn in
                                                                                             of          drawn  in
the-mine-of
the name of the
             the Corporation
                 Corporation when
                               when signed
                                       signed byby an-offteet
                                                    an officer of
                                                                of the
                                                                   the Corporation;
                                                                        Corporation; and and it
                                                                                              it is
                                                                                                 is



        FURTHER
        FURTHER RESOLVED,
                      RESOLVED, that    that the
                                              the president  and Treasurer are
                                                  President and              are hereby authorized
                                                                                          authorized to
                                                                                                      to sign
                                                                                                         sign
checks,
checks, drafts,
         drafts, or
                  or  other  orders for
                             orders     for  payment    of  money
                                                        of money    on
                                                                     on  behalf
                                                                         behalf  of
                                                                                  of the
                                                                                     the  Corporation;
                                                                                          Corporation;   sign
                                                                                                         sign
acceptances,
acceptances, antes;   or other evidences:of
               notes, Or        evidences of indebtedness
                                                   indebtedness on   behalf of
                                                                 on behalf   of the
                                                                                the Corporation;
                                                                                     Corporation; enter
                                                                                                   enter into
                                                                                                          into
contracts
contracts on  behalf of
           on belmif     the Corporation',
                      of the                    execute and
                              Corporation; execute       and deliver  other documents and
                                                             deliver other               and instruments
                                                                                             instruments on on
behalf oldie
behalf         Corporation; and
       of the Corpciration;  and it
                                  it is
                                     is



      - FURTHER
        FURTHER RESOLVED, that             the Officers
                                      that the  officers of of the
                                                                the Corporafion   are hereby authorized to
                                                                    Corporation are                           to
exercise all
exercise all such
              such powers
                    powers of the the Corporation
                                        Corporation and
                                                      and taketake all
                                                                    all such-
                                                                        such lewftil   acts that
                                                                              lawful acts    that they
                                                                                                   they deem
                                                                                                          deem
          to implement
necessary to
necessary     implement the
                          the foregoing    resolutions of the
                               foregoing resolutions          the Corporation
                                                                   Corporation that
                                                                                that are  not by
                                                                                     are not   by law,
                                                                                                  law, by
                                                                                                        by the
                                                                                                            the
         of Incorporation, or
Articles of                   or byby The
                                       the Bylaws
                                            Bylaws of the  the Corporation     reserved or
                                                                 Corporation -reserved    or required to to be
                                                                                                             be

exercised or
          or done
             done by
                   by the
                      the Board
                           Board ofof Directors;
                                      Directors; and
                                                  and it
                                                       it is
                                                          is



        FURTHER
         FURTHER RESOLVED,
                      RESOLVED, that       all activities and
                                     that all.activities       actions taken
                                                          and actions    taken .and
                                                                                and documents executed
                                                                                                executed
heretofore
heretofore by   any incorporator,
            by any                  director, or officer
                     incorporator, &caw;          officer of  the Corporation
                                                           of the  Corporation in in connection with
                                                                                                with the
                                                                                                       the
orgenizatirm
organization and   operation of
              and operation  of the
                                the Corporation
                                     Corporation areare hereby ritified,-confirined,  and approved in
                                                                ratified, confirmed, and            in all
                                                                                                        all
respects.
respects.

                                    Adoption of Governance
                                    Adoption of Governance Policies
                                                           Policies

        WHEREAS,
        WHEREAS, the the Conflict of
                                   of Interest
                                       Interest Policy
                                                Policy (Exhibit
                                                        (Exhibit B),
                                                                   B), Compensation  Review Policy.
                                                                       Compensation Review     Policy
(Exhibit
(Exhibit C),
         C), Document
              Document Retention
                         Retention Policy
                                    Policy (Exhibit D),    and Whistleblowet
                                                      DL and    Whistleblower Policy (Exhibit El
                                                                              Policy "(Exhibit  E) of
                                                                                                    of
the Corporation havebeen
the Corporation have  been presented  to the Board Directors;
                                      to the Board   of Directors:

        WHEREAS, the
        WHEREAS,      the Board   of Directors has
                          Board ofThrectors    has reviewed these  governance policies
                                                             these governance policies and  deems it
                                                                                       and deems     it

is
is advisable;and
   advisable and in
                 in the
                    the -best
                         best interests    the Corporation-to
                                        of the
                              interests of     Corporation to adopt
                                                               adopt these             policies, it is
                                                                     these governance policies,-it  is

hereby:
hereby:




                                                      --2-
                                                        2-
                                                                                                           SF FA 000069
                                                                                                           SFFA  000069

                                                                                                        EXHIBIT L, PAGE 2
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         RESOLVED,
         RESOLVED, that that the
                              the Conflict
                                   Conflict ofof Interest
                                                 Interest Policy,
                                                          Policy, Compensation
                                                                   Compensation Review
                                                                                   Review Policy,
                                                                                            Policy,
Document
Document Retention
             Retention Policy,
                       Policy, and  Whistleblower Policy
                               and Whistleblower   Policy are
                                                          are hereby approved and
                                                                               and adopted in their
                                                                                              their
entireties;
entireties, and'Ordered
            and ordered to be inserted in
                        to be          in the minute book
                                          the minute book of
                                                          of the
                                                              the CoVqration.
                                                                  Corporation.




        This
        This action
             action by
                    by unanimous
                        unanimous 'written
                                    written consent
                                            consent may
                                                      may be
                                                          be signed
                                                              signed in
                                                                     in any
                                                                        any numbernf
                                                                            number of ommterpart,s,
                                                                                      counterparts,
all
all of which
       which when  taken together
             when taken   together will constitute one;and
                                   will constitute         the same
                                                   one and the  same document,
                                                                     document.




Dated: August 6, 2014
Dated: August.   20 14


                               [SIGNATURE'PAGEFDLLOWS].
                               [SIGNATURE PAGE FOLLOWS) ....




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                                               -   -




                                                                                             SF FA 000070
                                                                                             SFFA  000070

                                                                                          EXHIBIT L, PAGE 3
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                                 CONFIDENTIAL



                               SIGNATURE
                               SIGNATURE PAGE
                                         PAGE TO
                                              TO
                          UNANIMOUS WRITTEN CONSENT
                          UNANIMOUS          CONSENT
                    IN
                    IN LIEU
                       LIEU OF
                            OF AN ORGANIZATIONAL
                               AN oRGAmzinoNAL   MEETING
                                                 MEETING
                                             of
                          THE BOARD OI
                          THE BOARD      DIRECTORS -I
                                     OF PIRECTORS
                                     -PJ
                      STUDENTS
                      STUDENTS FOR
                               FOR FAIR
                                   FAIR ADMISSIONS,
                                         ADMISSIONS, :INC.
                                                      INC.


        IN
         IN -WITNESS
             WITNESS WHEREOF,
                      WHEREOF, the
                               the undersigned have
                                               have executed
                                                    executed this•-Wiitten
                                                             this Written Consent
                                                                           Consent as
                                                                                   as of the
                                                                                         the
date set forth_above:
date set       above.



                                                      Edward Blum
                                                      Director




                                                      Abigail Fisher
                                                                Fisher
                                                      1:iirector
                                                      Director




                                                      Richard Fisher
                                                              Fisher
                                                      Director.
                                                      Director ,




                                             4    -




                                                                                        SFFA 000071
                                                                                        SFFA 000071

                                                                                     EXHIBIT L, PAGE 4
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                                 CONFIDENTIAL



                              SIGNATURE ?AGE
                                           PAGE TO
                                                TO
                         UNANIMOIS'WRITTEN
                         UNANIMOUS WRITTEN CONSENT
                                               CONSENT
                   IN
                   IN LIEU OP
                           OF AN  ORGANIZATIONAL
                              AN ORGANIZATIONAL    MEETING
                                                   MEETING
                                      of .
                           THE
                           THE BOARD  OF DIRECTORS
                                BOARD OF   DIRECTORS

                      STUDENTS
                      STUDENTS FOR PAIR ADMISSION
                               FOR FAIR          A INC.'
                                        ADMISSIONS, INC.


        IN WrnswS.WNE4Ot
        ILd WITNESS WHEREOF, tote   Orriigar$ have
                              the undersigned have executed
                                                   executed thi:s Written Consent
                                                            this Wlitte4          as of
                                                                          Consent AS of the
                                                                                        the
date.set forth above..
date set forth above.




                                                    Echvard
                                                    Edward Blunt
                                                             Blum
                                                    Director
                                                    Director




                                                     Abigail   Êisher
                                                    Director




                                                     Ricirartifisher
                                                     Richard Fisher
                                                     Director •
                                                    -Director




                                           -4
                                            4
                                            -
                                              - -




                                                                                        SFFA 000072
                                                                                        SFFA 000072

                                                                                     EXHIBIT L, PAGE 5
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                                CONFIDENTIAL



                              SIGNATURE
                              SIGNATURE PAGE
                                        PAGE TO,
                                             TO
                         UNANIMOUS  WRITTEN CONSENT
                         UNANIMOUS WRITTEN  CONSENT
                      LIEU OF
                   IN LIEU OF AN ORGANIZATIONAL
                              AN ORGANIZATIONAL  MEETING
                                                 MEETING
                                           of
                         TI1E
                         THE BOARD
                              BOARD 4P
                                     OF DIRECIORIS
                                        DIRECTORS
                                     of
                     STUDENTS FOR
                               FOR FAIRAtiMISSIONS;INC.:
                                   FAIR ADMISSIONS, INC.


         IN WITNESSWIERËOÑtbe undersigned haŸe executed
         IN WITNESSWHEREOF,the:undersigrted-havi eXëeuted this
                                                          this Written
                                                               Written Consent
                                                                       Consent as
                                                                               as of
                                                                                  of the
                                                                                     the
date
date set
     set forth aboves
               above,



                                                    Edward:Mum
                                                    Edward Blum
                                                    Direct&
                                                    Director




                                                    Abigail
                                                    Abigail Fisher
                                                             Fisher
                                                    Diredtor
                                                    Director




                                                    Richard :Fisher
                                                             Fisher
                                                    DiWitte
                                                    Director




                                          --44 --




                                                                                     S F FA 000073
                                                                                     SFFA   000073

                                                                                  EXHIBIT L, PAGE 6
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                           EXHIBIT A
                           EXHIBIT A


                              Bylaws
                              Bylaws
                          (see
                          (see attached)




                                                                   SF FA 000074
                                                                   SFFA  000074

                                                              EXHIBIT L, PAGE 7
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                                                      BYLAWS
                                                      BYLAWS
                                                            of
                              STUDENTS FOR
                              STUDENTS FOR FAIR ADMISSIONS, INC.
                                           FAIR ADMISSIONS, INC.

                          (Formed
                          (Formed under the
                                        the VirginiallonatOok,Corporation
                                            Virginia Nonstock Corporation Act)
                                                                          Act)

                                            {Adopted August fr,
                                            (Adopted August 6, 2914)
                                                                2014)


                                                    ARTICLE I
                                                    ARMLET
                                                 Name awl
                                                 Name and toriCeltiOtt
                                                          Location

       Section 1.01
                1.01 Name. The
                     Name. The name
                               name of
                                    of the
                                       the corporation
                                           corporation is
                                                       is Students
                                                          Students for Fair Adinissions,
                                                                   for Fair Admissions, Inc.
                                                                                         Inc.
(the
(the "Corporation").

        Section
        Section 1.02
                  1.02  Location.
                        Location. The principal
                                        principal office
                                                  office ofof the
                                                              the Corporation
                                                                  Corporation shall
                                                                              shall be
                                                                                    be located
                                                                                        located at
                                                                                                at 109
                                                                                                   109
North
North Henry    Street, Alexandria, Virginia
       Henry Street,                        22314, or
                                   Virginia 22314;  or at  any other place
                                                        at any       place approved byby the
                                                                                          the Board
                                                                                              Board of
                                                                                                     of
Directors.
Directors.

        Section
        Section 1.03
                  1.03    Registered
                          Revistered Office
                                       Office and
                                                and Agent
                                                     Acent.    The
                                                               The Corporation
                                                                      Corporation shall
                                                                                     shall  continuously
                                                                                            continuously
maintain
maintain a registered-office
            a                    and agent
             registered office and   agent within.  the ConimOnwealth
                                             within the Commonwealth bf   of Virginia
                                                                             Virginia atat such  place as
                                                                                           such place   as

may
may be
     be designated by-the
                       by the Elbe('
                               Board of   Directors. The Corporation's
                                       of Directors.        Corporation's initialitgiStered
                                                                           initial registered office
                                                                                               office and
                                                                                                      and
agent
agent are
      are set
          set forth
               forth in
                     in the
                        the Articles
                            Articles Of
                                     of IncOrporation.
                                        Incorporation.


                                                    ARTICLEII
                                                    ARTICLE   II
                                                     huposa
                                                     Purposes

         The Corporaticin
                Corporation is  is organized
                                   organized andand shall
                                                       shall be
                                                              be operated exclusively
                                                                              exclusively forfor eltaritable,
                                                                                                  charitable, religious,
                                                                                                               religious,
scientific,
scientific, literary,-
             literary, eeducational
                         dneational and             purposes within:the
                                         and other purposes      within the meaning
                                                                               meaning of of Seetion501(c)(3)
                                                                                              Section 501(c)(3) of  of the
                                                                                                                       the
Internal
Internal Revenue Code  Code of of 1986,
                                   1986, asas now
                                              now inin effect oror as
                                                                    as hereafter
                                                                         hereafter may
                                                                                    may bebe amended (the (the "Code"),
                                                                                                                "Code").
ThOpUrPbses
The purposes for       which the
                  for which     the Corporation
                                     Corporation is  is formed areare to             human and
                                                                        to defend human       and civil  rights secured
                                                                                                   civil rights  secured
by law,
by  law, including
          including thethe fight
                            right ofindividuals
                                   of individuals to    equal protection under the
                                                    to equalprotection                the law,
                                                                                          law, through litigation and and
any other lawful
any          lawful Means,
                      means, and and to
                                      to engage
                                          engage in    any lawful
                                                  in any     lawful act
                                                                      act or
                                                                           or activity for   which corporations
                                                                                        for which    corporations may may
be
be organized
    organized under
                  under the                Nonstock Corporation Act
                               Virginia NOtistockCarPoration
                          the Virginia                                   Act (the   "Act"). in
                                                                              (the '"Act").                      thereof,
                                                                                               In furtherance thereof,
the  Corporation shall
the Corporation      shall have
                            have ally
                                   all the
                                        the general
                                            general pnwers
                                                       powers enimierated
                                                                enumerated in       Sections 13.1-826
                                                                                 in Seetions   13.1-826 andand 13.1-827
                                                                                                                13.1-827
of
of the
   the Act..
        Act.


                                                    ARTICLEIll
                                                    ARTICLE   III
                                                     Membership
                                                        berwhiP
        Section  3.01 - Members.
         Section 3.01   Members. The
                                 The Corporation
                                     Corporation ahall
                                                 shall have no members
                                                       have no members within
                                                                       within the
                                                                              the meaning of
                                                                                          of
the
the Act.
    Acte


       Section
       Section 3.02
                3.02    Affiliate Members.
                        Affiliate.  Members. The The Corporation
                                                      Corporation shall    have one
                                                                    shall have    one class
                                                                                        class of
                                                                                               of --affiliate
                                                                                                   alTiliate
members
members with
          with rights  privileges, and
               rights, privileges;                   established by
                                         obligations established
                                     and dbligetions             by the          of Directors,
                                                                     the -Board -Cif              Affiliate
                                                                                     Directors. ,Affiliate
At-       have no
   embers have
members              voting rights
                 no Voting    rights and
                                      and are
                                          are not.members
                                               not members within      the meaning
                                                              within the   meaning of of the   Act. Any
                                                                                           the Act.     Any




                                                                                                                   SFFA
                                                                                                                   SFFA 000075
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                                                                                                               EXHIBIT L, PAGE 8
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individual who,
             who seeks
                   seeks to
                         to support
                            support the
                                     the purposes and
                                                   and mission
                                                        mission of
                                                                 of the
                                                                    the Corporation
                                                                        Corporation shall
                                                                                      shall be
                                                                                             be eligible
                                                                                                 eligible to
                                                                                                           to
be
be an
    an affiliate member,
                 member, subject toto any
                                       any additional
                                           additional Standards
                                                       standards that
                                                                  that may
                                                                       may be
                                                                            be set from time
                                                                               set from   time to
                                                                                                to time
                                                                                                    time by
                                                                                                          by
the
the .Board
     Board of   Directors. The Board of Directors
             of Direeters.                 Directors shall
                                                      shall have
                                                            have authority
                                                                  authority to
                                                                            to recognize anyany individual
                                                                                                 individual
as
as =affiliate
   an affiliate member.
                member.


                                                      ARTICLEIV
                                                      ARTICLE
                                                   Board of
                                                   Board    Dirater:
                                                         of Directors

        Section
         Section 4.01
                 4.01    Power of Board of
                                         of Directors.-
                                            Directors. The
                                                        The business
                                                            business and
                                                                     and affairs
                                                                         affairs of
                                                                                 of the
                                                                                    the Corporation
                                                                                        Corporation
shall
shall be
      be managed
          managed byby the
                       the Board
                           Board of Directors.
                                    Directors.

        Section 4.02    Number of Directata
                4,02 Rumbet         Directors. The
                                                 Th« number
                                                       number of  directors of the
                                                               of tilfeetori   the Corporation
                                                                                   Corporation is
                                                                                                is no
                                                                                                   rio
fewer
fewer than three
            three (3),
                  (    but no
                           no more
                              more  thaf
                                    than five
                                           tve (5),
                                               (5)  and
                                                    and may be
                                                            be  increased  or
                                                                           or decreased
                                                                              decreased from
                                                                                        from  time  to
                                                                                                    to
time
tinfeky actiën of the
     by action         Board of Directors.
                  flie Beard    Directors,

         Section
         Section 4.034.03     Election
                              Election and
                                         and Term of    of Directors.
                                                             Directors. The  The initial
                                                                                   initial Board of  of Directors
                                                                                                         Directors shallshall
consist
consist ofof those
              those directors
                      directors named
                                  named in in the
                                              the Action
                                                    Action of     the Sole
                                                              of the          Incorporator dated
                                                                       Sole Incorporator      dated July
                                                                                                     July 30,
                                                                                                           30, 2014
                                                                                                                  2014 andand
shall
shall serve
       serve until
               until  their
                      their  successors are
                             successors    are elected
                                               elected    and
                                                           and qualified. Thereafter,
                                                                qualified.     Thereafter, directors shalt be
                                                                                             directors  shall   be elected
                                                                                                                     elected
at
at an
    an annual
        annual meeting
                  meeting of the. the Board
                                       Board of  of Directors
                                                     Directors by  by anan affirmative votevote ofof a majority
                                                                                                       amajority of the    the
directors
directors then
            then inin office,
                       office, and
                                and each
                                     each shall
                                            shall continue in   in office   until his
                                                                    office until       or her
                                                                                  his or   her successor
                                                                                                successor isis elected
                                                                                                                 elected or  or
qualified (unless
            (unless thethe Board of
                            Board   of Directors,
                                        Directors, atat the
                                                         the annual meeting,
                                                                        meeting, determines
                                                                                    determines that there
                                                                                                  that there isis to
                                                                                                                   to be no
                                                                                                                       be   no
such
such immediate
       immediate successor),
                       successor), Oror unfit
                                         until his    or her
                                                 his or   her death,
                                                                death, resignationi
                                                                          resignation, oror removal.
                                                                                             removal. The The tenure of     of
incumbent members of the
incumbent                      the Board of of Directors     shall not
                                               Directors shall               affected by an
                                                                          be affected-by
                                                                     not be                 an increase
                                                                                                increase or
                                                                                                          or decrease
                                                                                                              decrease in    in
the number of directors.
thenumber          directors.

         Section
         Section 4:04
                   4.04   Vacancies
                           Vacancies andand Newly-Created
                                             Newiv-Created Directorships.
                                                                   Directorships.      Vatandies
                                                                                       Vacancies and and newly-
                                                                                                            newly-
          directorships, resulting
created directorships,    resulting front
                                     from any
                                           any increase
                                                 increase in   the authorized
                                                            in the  authorized nurribirof
                                                                                 number of directors,       may be
                                                                                               directors, may    be

filledby      majority vote
filled by a majority
              a         vote of the
                                 the directors  then in
                                     directors then    in office
                                                          office although
                                                                  although Wsless than
                                                                                  than  a quorum,
                                                                                           quorum,
                                                                                                 a   or
                                                                                                     or  by
                                                                                                         by  a sole
                                                                                                               sole    a


remaining    director. A
remaining director       A directdr
                            director elected to   fill a vacancy or
                                              to All        a       or newly-created
                                                                       newly-created directorship       shall hold
                                                                                        directorship shall     hold
office
office until
        until the
               the next
                   next annual meeting,
                                  meeting of   the „Board
                                           of the    Board ofof Directors
                                                                 Directors and
                                                                            and until
                                                                                  until his
                                                                                        his or
                                                                                             or her
                                                                                                her successor
                                                                                                     successor is is

elected and
         and qualified.


         Section
         Section 4.05
                  4.05   Removal. Any
                         Removal.    Any director
                                           director may
                                                    may be
                                                        be removed with   or Without
                                                                     with or without cause
                                                                                     cause at
                                                                                            at anytime
                                                                                               any time
by action
by  action of
           of the
               the Board.
                    Board. AA director
                              director may     be removed only:at
                                          may be            only at a meeting
                                                                      meeting called for
                                                                                    a     that purpose
                                                                                      for that
(together
(together with
           with other Purposes,
                       purposes, if
                                 if oily),
                                    any).

        Section
         Section 4.06
                 4.06    Resignations.
                         Resignations. AnyAny director    may resign at
                                                director may         at any
                                                                        any time
                                                                             time upon   written notice
                                                                                   upon written    notice to
                                                                                                           to

the
the Corporation.
     Corporation.     Unless
                      Unless otherwise
                                otherwise specified
                                           specified inin the
                                                          the wtitteh  notice, the
                                                              written notice,   the resignation
                                                                                     resignation - shall
                                                                                                   shall be
                                                                                                          be

effective
effective upon
          upon delivery
                 delivery .so
                           to the
                              the Corporation.
                                   Corporation.

        Section
         Section 4:07     Quorum of the
                  4.07 Ouortunof          the Board of   of Directors
                                                            Directors andand Action of of the   Board of Directors;
                                                                                           the Board       Directors.
Unless
Unless a greater
          a          proportion is
           greater proportion     is required
                                      required by      law or
                                                  by law    or by
                                                                by these
                                                                    these . Bylaws   for adoption
                                                                            Bylaws for    adoption of of a particular
                                                                                                            particular
                                                                                                                a


action,
action, a majority
          a                   directors shall
                      of the directors
           majority of:the                 shall constitute.a     quorum for the
                                                  constitute quorum   a         the transaction
                                                                                     transaction of    business and,
                                                                                                   of business,   and,
except as
        as otherwise Provided
           otherwise    provided by     law or by-the
                                    by law   or  by  the  Articles
                                                          Articles  of
                                                                     of Incorporation
                                                                        Incorporation   or
                                                                                        or   these
                                                                                             these Bylaws,.the
                                                                                                   Hylaws,    the vote
                                                                                                                  vote
of    majority Of
of a majority
   a               the directors present it
                of thadirectorsliesent        at the.    eeting at
                                                 the meeting        which a quorum.is
                                                                 at which       a           present shall
                                                                              quorum is present      shall bete
                                                                                                            be the act
                                                                                                                   act

of
of the13oard
   the Board othitectOrs.
               of Directors.




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                                                                  -




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                                                                                                                             000076

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         Section    4,08 Meetings
         Section 4,08       Meetings of    of the
                                              the Board
                                                   Board of
                                                          of Directors.
                                                               Directors. An An annual       meeting..of.
                                                                                  annual meeting            the Board
                                                                                                        of the   Board of of
Directors
Directors shall
            shall be be held
                         held each
                                each year at   at such.time
                                                  such time and  and place'as
                                                                      place as shall
                                                                                  shall bebe fixed
                                                                                               fixed by    the Board
                                                                                                      by the    Board:off
Directors,
Directors, for'the
            for the election
                       election of    officers and
                                  of officers         directors and
                                                 and directors    and for
                                                                       for the  transaction of
                                                                           the transaction      of such
                                                                                                   such other     business
                                                                                                          other business
as
as may
    may .properly
         properly come       before the
                      come before      the meeting.      Regular meetings
                                             meeting. Regular       meetings of of the
                                                                                   the 'Board
                                                                                        Board of  of Directors
                                                                                                     Directors shall
                                                                                                                  shall bebe
held at
held  at such   times as
         such times        may be
                        as may    be fixed
                                      fixed by by the
                                                  the Board of of Directors.
                                                                   Directors. Special
                                                                                 Special meetings
                                                                                             meetings pfof the   Board of
                                                                                                            the Board     of
Directors;May
Directors may be       held at
                   be held       any-time
                             at any    time whenever      called by
                                              whenever called            majority of
                                                                   by a majority
                                                                         a           of tire-directors    then in
                                                                                         the directors then      in office.
                                                                                                                    office,
Notice
Notice ofof all
            all special
                 special meetinga
                           meetings shall       be delivered
                                         shall be  delivered in    writing toto.all
                                                                in writing      all directors
                                                                                     directors andand shall
                                                                                                       shall specify
                                                                                                              specify thethe
matters  to be
matters to  be addressed
                 addressed at at Such
                                  such meeting,
                                          meeting. Meetings
                                                      Meetings Of of the
                                                                     the Board
                                                                          Board ofof Directors
                                                                                      Directors maymay   be
                                                                                                         be  held
                                                                                                             held  at
                                                                                                                   at such
                                                                                                                      such
places
places Within
         within oror without
                       without the:Commonwealth
                                   the Commonwealth of        of Virginia
                                                                  Virginia as as may
                                                                                  may be be fixed
                                                                                              fixed by     the Board of
                                                                                                      by the              of
Directors.for
Directors for annual
                 annual and
                          and regular:meetings
                               regular meetings and   and in
                                                           in the
                                                              the notice
                                                                   notice of
                                                                           of meeting
                                                                               meeting for for special
                                                                                               special Meetings.
                                                                                                        meetings.

          Section 4.09
                   4.09 Informal
                          Informal:Action
                                     Action bv by the
                                                  the Board of
                                                             of Directors.     Unless otherwise
                                                                 Directors. Unleas                  restrictedly
                                                                                        otherwise restricted    by

the Articles
the            of Incorporation or
     Articles of                  or these
                                     these Bylaws,
                                             Bylaws, any
                                                      any action    required or
                                                           action required       permitted to
                                                                              or permitted    to be taken by
                                                                                                 be taken  by the
                                                                                                               the
Board of
Board    of :Directors
             Directors may    be taken
                         may be   taken without
                                          without a meeting
                                                      meeting if
                                                         a       if all
                                                                     all directors
                                                                         directors consent
                                                                                     consent inin writing  to the
                                                                                                  writing to   the
adoption
adoption of of a:resolution
               a resolution authorizing
                             authorizing thethe atrtion. The
                                                action.  The resolution and
                                                               resolution    and the written consents thereto
                                                                                  the  written  consents  thereto
by the
by  the directors-shall
          directors shall be
                           be filed
                              filed with
                                     with the    minutes of
                                            the Minutes   of proceedings
                                                             proceedings of   of the
                                                                                  the Board
                                                                                       Board of of Directors.
                                                                                                   Directors. A  A
written
written consent
           consent and
                     and the
                          the signing
                               signing thereof
                                          thereof may
                                                    may bebe accomplished
                                                              accomplished by    by one
                                                                                      one oror more
                                                                                                more electronic
                                                                                                       electronic
transri issions,. including a signed email
transmissions,                 a        email message-   from the
                                               message from    the applicable
                                                                     applicable director.
                                                                                 director.

        Section 4.10.
                 4.10 Meetings
                         Meetings by  by Conference   Telephone. Any
                                          Conference Telephone      Any one
                                                                         one or  more members
                                                                              or more   members ofof the
                                                                                                      the
Board
Board of    Directors may
        of Directors          participate in
                       may participate      in a meeting.
                                                 meeting of
                                                     a         such Board of
                                                           of -Sudh:Board   of Directors   by means
                                                                                Directors by    means ofof
conference
conference telephone      or similar:" communications liqUipinent by means of which
             telephone . or   similar   communications    equipment   by  means   of which   all
                                                                                             all persons
                                                                                                 persons
               in the
participating in      meeting can
                  the meeting    can communicate     with one
                                       communicate with    one another.  Participation in
                                                                another. Participation  in a meeting
                                                                                             meeting byby  a


such
such means
      means shall
             shall constitute   presence in person at
                    constitute preSerice*petsOn        the meeting.
                                                    at the meeting.

       Section 4.11
                4.11     Compensation of
                         Compensation      of Directors.
                                               Directors.       The    Corporation may
                                                                The Corporation       may   not
                                                                                            not pay
                                                                                                pay  any
                                                                                                     any
compensation to
compensation   to directors
                   directors for   services rendered, except
                               for services                       that directors
                                                         except that               may be
                                                                        directors may   be reimbursed for
                                                                                                      for
expenses incurred
expenses incurred in   the performance
                    in the performance of of their
                                             their duties to the
                                                   duties to      Corporation, in
                                                              the Corporation,   in reasonable animas
                                                                                               amounts as
                                                                                                       as

approved
approved by a niority
         by a  majority ofof the
                             the entire
                                  entire Board
                                         Board of
                                               of  Directors.
                                                   Directors.


                                                     ARTICLEV
                                                     ARTICLE   V
                                                      Committees

        Section.
        Section 5.01
                 5.01    General Provisions.
                         General  Provisions. A    majority of
                                               A majority   of the
                                                                the Board
                                                                    Board ofof Directors
                                                                                Directors may     create one
                                                                                            may create    one
or more committees
or.more  committees and    appoint members of
                       and appoint              of the
                                                   the Board ofof Directors
                                                                   Directors to   serve on
                                                                              to serve    on them.
                                                                                             them.    To
                                                                                                      To the
                                                                                                           the
extent specified by the Board of
extent specified   by the Board      Directors,
                                  of Directors,  each
                                                  each  committee
                                                        committee    may
                                                                     may  exercise
                                                                          exercise   the
                                                                                      the  authority
                                                                                           authority   of
                                                                                                       of  the
                                                                                                           the
Board
Board of                     that a committee
          Directors, except that
       of Directors.                committee may
                                        a             not exercise
                                                may not   exercise authority   prohibited by
                                                                    authority prohibited    by law.
                                                                                                law.


       Section
        Section 5.02
                 5.02   Committee
                        Committee Rules.
                                     Rules.    Requirements
                                               Requirements forfor the
                                                                    the -Board
                                                                         Board of of Directors
                                                                                      Directors set
                                                                                                  set forth
                                                                                                       forth
       or, if applicable,
herein or,                in Sections 111-864
              applicable, in           13.1-864 through   13.1-868 of
                                                 through 13.1-868     of the
                                                                         the Act
                                                                              Act as  now in
                                                                                   as now   in effect or
                                                                                                       or -as
                                                                                                           as

may hereafter be
may             be amended, oror any
                                 any  other statutory
                                            statutory provision,
                                                      provision,   governing
                                                                   governing   meetings,
                                                                               meetings,   action
                                                                                           action  without
                                                                                                    without
meetings, -notice   and waiver
            notice and   waiver of
                                 of notice,  and quorum and
                                     notice, and            and voting     requirements shall
                                                                  voting requirements             apply :,to
                                                                                           shall apply     to

committees and
committees   and their  members as
                  their Members   as well.
                                     well.




                                                             -3 -
                                                             -
                                                                 3
                                                                     -




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                                                    ARTICLEVI
                                                    ARTICLE-VI
                                          Qificers, AgentJ, and Employees
                                          Ofþcers, Agents,      EMployees

         Section
         Section .601
                  6.01   Officers
                         Officers.     The
                                       The Board of     of Directors.
                                                            Directors shall
                                                                        shall elect
                                                                               elect or
                                                                                      or appoint a President,.
                                                                                                     President,
                                                                                                              a


Seeretary
Secretary, and TreaSurer,     and it
                  Treasurer, and-      may, if
                                    it may,   if it
                                                 it soso determittes,'   elect or
                                                          determines, elect    or appoint
                                                                                   appoint one
                                                                                            one or
                                                                                                 or more
                                                                                                    more Vice
                                                                                                           Vice
Presidents, Assistant
President%                             Assistant Treasurers, and
                         Secretaries, Asslatant
              Assistant Store**,                                         other officers
                                                                    and Other  officers and
                                                                                         and may
                                                                                              may give
                                                                                                   give any
                                                                                                        any ofof
them   such further"
them such.   further designation
                      designation or
                                   or alternate    titles as
                                       alternate titloS    as it  considers desirable. The
                                                               it considers               The same   individual
                                                                                               same indiVidual
may
may simultaneously
      simultaneously bold
                       hold inure
                             more than
                                   than oneeffiee
                                         one office in  in the
                                                           the Corporation.
                                                                 Corporation.

          Section
           Section 6,02
                     6.02    Term
                             Term of     Office, Vacancies and
                                     of Office:Vacancies         and Removal.
                                                                       Removal. Each           officer .shall
                                                                                      Each officer      shall hold office
                                                                                                                      ofScc
for
for the   term   for whit 'Ate  or
     the term for which he or she   she isis eleeted  or   appointed:and
                                              elected or appointed and unfil.liiS
                                                                            until  his      her
                                                                                        or' successoris
                                                                                        or  her   successor is   elected
                                                                                                                 elected   or
                                                                                                                           or
appointed
appointed and  and quall4dd,
                     qualified, or
                                 or until
                                     until his:
                                             his or
                                                  or her
                                                     her earlier-death,     resignation or
                                                           earlier death, resignation        or removal,
                                                                                                  removal. AllAll officers
                                                                                                                    officers
shall
shall bebe elected
            elected or    appointed at
                      or appointed    at the
                                          the annual meeting
                                                         meeting ofof the
                                                                      the Board
                                                                           Board of      Directors, except in
                                                                                    of DireeterSfexcept        in the
                                                                                                                   the case
                                                                                                                        case

of           officers and-vacancies
    initial officers
of initial                                 resulting from
                        and vacancies resulting,              any resignation
                                                       from any    resignation or or removal,
                                                                                       removal, Aloftwhich may
                                                                                                            may be be filled

by   the Board of
by theBoard        of Directors
                      Directors asas needed.
                                     needed. An   An officerappointed
                                                      of6cer appointed or      elected to
                                                                            or elected     to fill
                                                                                               fill a vacancy shall
                                                                                                  a              shall bold
                                                                                                                        hold
office
office for thethe unexpired    term of
                   unexpired term     of his
                                           his orherpredecessor
                                                or her predecessor in     office, and
                                                                       in office,  and until
                                                                                          until his
                                                                                                  his or
                                                                                                      or her
                                                                                                         her successor
                                                                                                              successor is is

elect
elected1,odand qualified. Any Any officer
                                     officer Maymay be
                                                     be .reraved
                                                          removed by     the Board of
                                                                     by the   Board         Directors with
                                                                                        of Directors     with oror without
                                                                                                                    without
causeM
cause at anyany time-
                 time.

        Section
         Section 6,03
                 6.03                  Any officer
                        Resianation. Any
                       Resignation:        officer may
                                                   may resign:al   any time by
                                                        resign at anytime     by giving Written
                                                                                        written notice
                                                                                                 notice
to  the Corporation:
to the  Corporation. .lItless
                      Unless otherwise
                               otherwise specified in
                                                   in the
                                                      the written notice,
                                                           written           the  resignation
                                                                     notice, the resignation  .shall
                                                                                               shall he
                                                                                                      be

effective upon
effective upon delivery to  the Corporation.
                         to the Corporation.

        Section
        Section 6,04
                  6.04    Powers and.
                          Powers   and Duties of     Officers. &Meet
                                                 of Officers,   Subject to   the control
                                                                          to the   control of
                                                                                           of the
                                                                                               the Board ofof
Directors, all
Directors;  all officers
                officers as
                          as  between  themselves and.
                                                     and the
                                                          the Coipoiation
                                                              Corporation   shall
                                                                            shall  have
                                                                                   have  such
                                                                                         such  authority
                                                                                               authority and
                                                                                                         and
perform
perform such
         such duties
                duties in   the management of
                        in the                of the  Corporation as may
                                                  the Corporation.a.S  may be     provided by
                                                                             be proVided    by the
                                                                                                the Board of
Directors               extent notsoprovided,
           and, to the extent
Directors and,'tothe            not so provided, as   generally pertain totheir
                                                   as generally;pertain to their respective offices.
                                                                                              offices.

                       The President shell
         President. The-President
         President:.                    shall Serve
                                               serve as   the chief
                                                       as the        executive officer
                                                              chief executive   officer ofof the   Corporation and
                                                                                             the Corporation    and
         pre-aide at
         preside      all meetings
                  at all   meetings of thethe "'could-
                                                Board of     Directors. The President shall
                                                         of Directors.                               supervise and
                                                                                              shall superVisa   and
         control   all of
         control All    of • the
                             the -affairs
                                 affairs ofof the     Corporation and
                                                the Corporation       and oversee the the management Of      of the
                                                                                                                 the
         Corporation
         Corporation m   in aecordance
                              accordance    with
                                             with   peliCieS,
                                                    policies   and
                                                               and   directives
                                                                     directives  approved       by
                                                                                                by  the
                                                                                                    the  Board    of
                                                                                                                   of
                      including appointing assistants
         Directors, including-appointing
         Direetors,--                            assistants and    hiring employees as
                                                              and hiring                 as necessary
                                                                                             necessary toto ensure
                                                                                                             ensure
         orderly
         orderly operatiW,
                  operations.

         Seeroary.
         Secretary. The           shall be
                        Secretary Shall
                    The Semmes/         be responsible for
                                                       for the keeping of
                                                           the keeping       accurate record Ofthe
                                                                          an wcurate
                                                                       of an                 of the
         proceedingS•of
         proceedings of all   meetings of the
                         all meetings-of   the Board of Directors,   shall give'r
                                                          Directors, shall  give or cause
                                                                                    cause to  be given
                                                                                           to be given all
                                                                                                        all
         notieeilineceorditice                Bylaws or
                                  with these Bylaws-
         notices in accordance With-these              or as
                                                          as required
                                                             required by  law, and shall perfp
                                                                      by laW,endshali     performtall
                                                                                                    all
         duties customary
         duties customary toto the
                               the officea
                                   ofñce of Secretary.
                                              Secretary.                            -

         Treaurer,                       shall have-
                       The Treasurer shxdrl
         Treasurer. 11*Tteourer                  have the  custody of,
                                                       the custody         and he
                                                                       of, and      responsible for,
                                                                                be responsible      for, all  funds and
                                                                                                          all fonds   and
         securitics of
         securities  of the   Corporation. tie
                         the Corporation,        He or
                                                     or she
                                                         she shall    keep or
                                                             shall keep      or cause
                                                                                 cause toto be   kept complete-
                                                                                             be kept     complete and and
         accurate accounts
         accurate  accounts of receipts      and disbursements of
                                  receipts and                        of the   Corporation, and
                                                                          the Corporation,     and shall
                                                                                                      shall deposit all all
         monies   and other -valnable
         monies and                      property of the
                              valuable property:of      the Corporation
                                                            Corporation      in
                                                                             in the
                                                                                the  name
                                                                                      name  and
                                                                                             and  to
                                                                                                  to the
                                                                                                      the  credit
                                                                                                           credit  of
                                                                                                                   of  the
                                                                                                                       the
         Corporation    in such banks-
         Corporation iosuch:       banks or      depositories as
                                            or depositories      as the
                                                                     the Board
                                                                            Board ofof Directors
                                                                                        Directors may may designate.
                                                                                                              designate.
         Whenever required
                      required by         Board of
                                     the I3oard
                                 by the            of Directors;
                                                       Directors, the
                                                                    the Treasurer
                                                                          Treasurer Shill                 astatement of
                                                                                       shall render a statement          of
         accounts. :fie
         accounts.   He or    she Shill at
                           or she  shall  at all
                                             all  reasonable   times    exhibit the
                                                                        exhibit   the  books
                                                                                       books   and
                                                                                               and   accounts
                                                                                                      accounts    to
                                                                                                                  to  any
                                                                                                                      any




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         officer
         ofTicer or
                 or director
                    director ofthe
                              of the Corporation,
                                       Corporation, and
                                                      and shall
                                                           shall perform
                                                                 perform all
                                                                           all duties
                                                                               duties incident
                                                                                      incident to
                                                                                               to the
                                                                                                  the office
                                                                                                      office of
         Treaturer,
         Treasurer, Stihject
                     subject toto the
                                  the "stiperYiSitin
                                       supervision Of    the Board of Directot's,
                                                     of the              Directors, and
                                                                                     and such
                                                                                          such other
                                                                                               other duties
                                                                                                      duties as
         shali
         shall feta
               from bit
                     timeCif)
                           to time
                              time bebe assigned   by the Board of
                                        assigned by'the            of Directors.
                                                                      Directors.

         Section
         Section 6.05
                  6.05    Agents.and
                          Agents and Employees:
                                      Emplovees. The The Board of of Direttors
                                                                     Directors may
                                                                                 may appoint
                                                                                      appoint agents
                                                                                                agents and
                                                                                                        and
employees whowho shall
                    shall have such
                               such authority
                                     authority and
                                               and perform
                                                    perform such
                                                              such dutiea
                                                                    duties as
                                                                            as may
                                                                               may be
                                                                                    be *Scribed
                                                                                        prescribed byby the
                                                                                                         the
BOMil
Board ofof Directors,
           Directors. The Board;of
                             Board of Directors
                                      Directors may
                                                 may remove any-agent      or
                                                                any agent or employee at  at any
                                                                                             any time
                                                                                                 time with
                                                                                                       with
orWithout
or without cause.
             cause.    Removal
                       Removal without
                                 without etinie
                                         cause shall 1*-  without prejudice to
                                                      be without-prefudice     to such
                                                                                  such person's
                                                                                        person's :contract
                                                                                                   contract
rights,
rights, if
        if any
           any, and
                and thcappointrnerit
                     the appointment of such
                                         such person-shall
                                               person shall notitaelfCreate
                                                             not itself create conttaetriglits,
                                                                               contract rights.

         Section
         Section 6,06,
                  6.06 Compensation
                            Compensation of Officers,
                                               Officers, Agents
                                                            Agents andand Employees.
                                                                           Emplovees. The.Corporation
                                                                                           The Corporation may      may
pay
pay compensation
       compensation - toto officers
                             officers for services rendered to     to the
                                                                       the Corporation
                                                                            Corporation in  in their
                                                                                                their capacity
                                                                                                        capacity as    as

officers;
officers, and
           and officert
               officers maymay bebe reimbursed for expenses
                                                    expenses incurred
                                                                 incurred in in the
                                                                                the performance
                                                                                     performance of  of their duties
                                                                                                                 duties
to
to the
    the Corporation,
         Corporation, in  in reasonable amounts as  as approved
                                                         approved by   by a Majority
                                                                             amajority of thethe entire Board.
                                                                                                           Board of    of
Directs.
Directors.     The
               The Corporation
                     Corporation may  may pay
                                           pay compensation in       in reasonable amounts to       to agents
                                                                                                        agents and   and
employees'for
employees for services
                  services rendered, such
                                        such amounts
                                              amounts to  to be
                                                             be fixed
                                                                  fixed byby the
                                                                              the Board of Directors
                                                                                               Directors or,or, if'
                                                                                                                  if thee
Board .of
Board    of Directors   delegates power to
            Directors delegates            to any
                                               any officer
                                                    officer oror officers,
                                                                  officers, then
                                                                              then by
                                                                                    by such
                                                                                        such officer
                                                                                               officer or
                                                                                                        or ofgeera;
                                                                                                             officers.
The
The Board
      Board ofDlreenirs
             of Directors may may require officers,
                                          officers, agents
                                                     agents oror employees
                                                                  employees to   to give security
                                                                                         security for
                                                                                                    for the
                                                                                                         the faithful
                                                                                                               faithful
pager/name-of
performance of their
                   their ditties.
                          duties.


                                                  ARnalvil
                                                  ARTICLEVII
                                                   yocgotofrous:
                                                   Miscellaneous .

        Section
        Section 7.01
                 7.01   Fiscal
                        Fiscal Year,
                               Year. The
                                      The fiscal
                                           fiscal year    the cotpomtion
                                                  year of the Corporation shall
                                                                          shall be
                                                                                be the
                                                                                   the calendar year
                                                                                                year
or
or such
   such other period
               period as
                      as may
                         may be
                              be fixed
                                 fixed by the Board of Directors,
                                       by the           Directors. -

         Section
         Section 7.02
                 7.02 Corporate
                          Corporate Seal.
                                      Seal. The corporate    seal, if any,
                                                  corporate seal,,if  any, shall   be circular
                                                                            shall be   circular in
                                                                                                 in form;
                                                                                                    form, shall
                                                                                                           shall
have.  the name
have the   name ofdie    Corporation inscribed
                 of the Corporation    inscribed ;thereon
                                                   hereon and
                                                           and shall contain the
                                                               shall  contain  the  words   "Corporate
                                                                                            "Corporate   Seal"
                                                                                                          Seal"
and "Virginia" and
and "Virginia'   and the
                      the year
                           year the
                                the Corporation    was formed
                                     Corporation was   formed inin the
                                                                   the center,   or shall
                                                                        center, or   shall be in such
                                                                                           be in  such form
                                                                                                       form aSas

may
may bebe approved from    time to-time
                    from time   to time by
                                         by the Board of
                                            the Board   of Directors.
                                                           Directors.

        Section
        Section 7.03
                 7.03               Notes, ContractS.
                          Cheçks, - Notes.
                          Checks,           Contracts. The The Board of of Directors
                                                                           Directors shall    determine who
                                                                                       shall determine    who
shall
shall be
      be authorized
         authorized from     time to time
                       from tune-to   time on   the Corporation's behalf
                                            on the-Corporation's     behalf to: (A) sign
                                                                            to: (A)  sign cheeks;.drafts;
                                                                                            checks, drafts, or
                                                                                                             or

other          for payment of
       orders for
other orders                    of .money;
                                    money; (B)(B) toto sign
                                                       sign acceptances,    notes, or,
                                                              acceptances, notes,   or other
                                                                                         other evidences of of
indebtedness; (C)
                (C) to   enter into
                     to enter   into contracts;   and (D)
                                     contracts; and         to execute
                                                       (D) to           and deliver
                                                               execute and   deliver other
                                                                                      other documents.
                                                                                              documents andand
instruments.
instruments.

      :Section
       Section 7.:04
               7.04    Books and
                       Books  and Records.
                                    Records.    The
                                                The Corporation  shall keep
                                                     Corporation shall keep correct
                                                                             correct and
                                                                                      and complete
books and record
books and        &
           records of
                    of account,
                       account, the
                                the activities
                                    activities and
                                               and transactions of the
                                                                   the Corpniation,
                                                                       Corporation,  minutes
                                                                                     minutes of
                                                                                             of the
                                                                                                the
proceedings of thethe Board
                       Board of
                              of Directors
                                 Directors and
                                           and any   committee of
                                                any committee     of the Corporation, a current list
                                                                     the Corporation,            alist of the
                                                                                                           the
                                                                                        Corporation°s
directors and
directors       officers .tif
           and officers   of the
                              the Corporation;          business addresses
                                                 their business
                                  Corporation, ;their             addresses and    the Corporation's most
                                                                              and the                    most
recent
recent annual    report. Any
        annual report.     Any ofof the
                                    the books,   minutes, and
                                         books, inimites;    and records ofof the
                                                                               the Corporation
                                                                                   Corporation may-
                                                                                                 may be be inin

written
written form
         form or of in  any other form
                     in any                capable of
                                     form capable     of being converted into into written-
                                                                                    written form    within a
                                                                                            form within                a


reasonable
reasonable time.
             time.

       Section
        Section 7,05
                 7.05  Amendment,     Articles of
                                   of Articles
                        Amendment of            of Incorogration
                                                   Incorporation and
                                                                   and Bvlawl,-  The Articles
                                                                       Bvlaws. The     Articles of
locorporation or Bylaws of the
Incrnporation  or  Bylaws       Corporation  .may be athended in whole-or in part by amajority
                            the Corporation may   be amended    in whole or in part by    majority          a




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vote of the directors then
        the directors then in
                           in office
                              office and
                                     and upon the taking
                                         upon the taking of any
                                                            any other actions
                                                                      actions required under the
                                                                                             the
Act.
Äct

         Section
         Section 7.06  7.06      Inderimilleatiori
                                  Indemnification and      and Insurance..
                                                                  Insurance. The    The Corporation
                                                                                             Corporation shall           indemnify any
                                                                                                               shall indemnify           any
director;
director, anyany former         director, any
                     former director,          any person
                                                     person who  who while
                                                                        while ,u director
                                                                                 a   director of of the
                                                                                                      the Corporation_may.
                                                                                                            Corporation may :have      have
served
served atat its
             its request as   as a director,
                                  a    director, officer,
                                                   officer, partner, trustee,
                                                                           trustee, erriPleyee,
                                                                                       employee, or    or agent
                                                                                                          agent -of of another foreign
                                                                                                                                    foreign
or  domestic corporation,
or domestic          corporation, partnership,
                                          partnership, joint joint yetiturei:
                                                                     venture, trUst;
                                                                                   trust, :employee         benefit plan
                                                                                             employee benefit             plan oror other

enterprise, and
enterprise,    and may,may, by      resolution off the
                               by resolution.           the Board Of      Directors, indemnify any
                                                                      of Directoti;                            officer, employee, or
                                                                                                         any officer,                      or

agent against any and
agentagainstany            and allall expenses
                                       expenses and        liabilities actually and necessarily
                                                    and liabilitiesaCtuallyand               necessarily incurred
                                                                                                            incurred by    by him
                                                                                                                               him oror her
                                                                                                                                          her
or imposed on him or
or                                  her in connection
                              or her-in       connection witliltny            claim, action,
                                                                with any claim,:         action, suit;    or proceeding (whether
                                                                                                   suit, or
        or threatened, civil:
actual or-threatened,          civil, criminal,
                                         criminal, administrative,
                                                       administrative, or    or investigative,       including appeals) to
                                                                                 investigative, including                        to which
                                                                                                                                     which
he  or she    may;be
he or she may be or         or  is
                                is   made
                                     made   aa  party
                                                party     by
                                                          by  reason
                                                              reason    of
                                                                         of  being
                                                                             being    or
                                                                                       or   having
                                                                                            having    been
                                                                                                      been   such
                                                                                                             such      director,
                                                                                                                       director,   officer,
                                                                                                                                    officer,
employee or agent; subject to
employet.or-agent;                        to the                    however, that
                                              the limitation, hoWever,            that there
                                                                                          there shall
                                                                                                 shall bebe no     indemnification in
                                                                                                             no indemnification-           in

relation -to
relation    to matters
                  matters unless            such -person.
                                unless :such"       person:..:(1) (1) conducted
                                                                        conducted himself-himself „or'or herself
                                                                                                           herself in   in good
                                                                                                                             good faith;
                                                                                                                                      faith;
(2) believed
(2) believed in   in the
                      the case
                            case of  of conduct
                                         conduct in in his    or her
                                                         his or   her Official
                                                                       official -capacity
                                                                                   capacity withwith -the   Corporation that
                                                                                                       the Corporation         that his
                                                                                                                                      his or
                                                                                                                                           or

her  conduct was
her conduct        was in in the
                              the best      interest elthe
                                      best interest                Corporation; and
                                                         of the Corporation,-          and in:all
                                                                                              in all other cases         that his or
                                                                                                               cases that:his        or her
                                                                                                                                          her
conduct was
conduct    was at  at least
                       least not     opposed to the
                              not opposedt6                best interests
                                                     the best                 of the Corporation;
                                                                  interests ofihe       Corporation; or    or (3)
                                                                                                               (3) in    the case
                                                                                                                     in the   case ofof any
                                                                                                                                         any
criminal
criminal proceeding,
            proceeding, he      he or or she
                                          she had
                                                had no no reasonable cerise cause to to believe
                                                                                          believe that
                                                                                                     that his
                                                                                                           his oror her     conduct was
                                                                                                                      her -conduct       was

unlawful. Further;
               Further, there         shall be no
                            there shall'be            indemnification in connection with
                                                  no indernnificationinconnection                with ain't-
                                                                                                        a      weeding (A)
                                                                                                           proceeding        (A) byby oror in
                                                                                                                                           in
the right of
the-right  of the      Corporation in which
                the Corporation-in            which the the ditector,
                                                             director, officer,      employee or
                                                                          officer, employee         or agentwas-judged
                                                                                                        agent was judged liable   liable toto

the Corporation,
the Corporation, or          (B) in
                         or (B)         which improper personalbenefit is
                                   in which      improper      personal     benefit    is  charged.          "

        The   Corporation shall
        The Corporation               upon order of
                             shall upon             of a court
                                                          court of  competent jurisdiction indemnify
                                                                 of competent
                                                                        a                    indemnify a  a

director who entirely
director who   entirely PreVails
                         prevails inin the
                                        the defense
                                            defense of   any proceeding
                                                      of any             to which he or she
                                                             proceeding 1.0:Which-he-or  she was
                                                                                              was .a party
                                                                                                     party                        a


because
because he;or   she is
          he or she  is or
                        or was
                            was a a director
                                     director Of  the Corporation,
                                               of the               for reasonable expenses incurred
                                                       Corporation, fotreasonable:tkpenses    incurred by
                                                                                                        by

him
him or  her in
     or her in connection   with the-proceeding.
               connection with     the proceeding.


         Amounts paid
         Amounts         in indemnification of
                    paid in                          expenses and
                                                 of expenses         liabilities may
                                                                and liabilities        include, but
                                                                                   may include,    but shall
                                                                                                        shall not
                                                                                                              not be
                                                                                                                  be

limited to,
         to, counsel  fees and
             counsel .fees               fees;
                            and other fees;    costs
                                               costs   and
                                                       and  disbursements
                                                            disbursements;     judgments,
                                                                               judgments,    Thies,
                                                                                             fines,  and
                                                                                                      and  penalties
against,-
against, and    amounts paid in Settlement
           and -ariunints:-Pitictin                by, such
                                      settlement by,                       officer, employee
                                                               director, 'eider,
                                                         such director,              employee or   or agent.
                                                                                                       agent.    The
                                                                                                                 The
Corporation may
Corporation    may pay        or reimburse the
                         for ntreirnbUrse
                    pay for                        reasonable expenses in
                                              the reasonable:                in advance ofof final
                                                                                              final disposition-of
                                                                                                     disposition of
the
the pr./acceding  provided that
    proceeding provided      that the
                                  the  provisions
                                       provisions   of
                                                    of  Section
                                                        Section  13.1-878
                                                                 13.1-878    of
                                                                              of the
                                                                                 the Act
                                                                                     Act are
                                                                                         are  met,
                                                                                               met.


             provisions of thiS
        The provisions:of
        The                       Article shall be applicable
                            this Article:shall*               to claims,
                                                   applicable to           actions, suits,
                                                                  claims, actions,  suits, or
                                                                                           or proceedings

made
made or   commenced after the
       or eadintenced          the adoption
                                   adoption -.hereof,  whether -:arising
                                               hereof, whether           from acts or
                                                                 arising from-acts   or omissions toto act
                                                                                                       act

occurring
occurring  before-or
           before or after adoption
                           adoption   heretif.
                                      hereof.

        The indemnification proVidelby
                              provided by this      Article Mall
                                              this Article   shall not  be deemed
                                                                    not be   deemed exclusive-of     any other
                                                                                      exclusive of any,
       to which
rights to
rights           such director, . bffiCei,:or
          which "suclr.elirector;- officer, or employee.
                                                employee may:may be be entitled
                                                                        entitled under
                                                                                  under any    statute, bylaw,
                                                                                          any :statute, bylaw,
agreement:vote:of-the                 Directors, or
                         Board of Direttors,
agreement, vote of the Board                      or otherwise
                                                     otherwise and and shall   not restrict-the
                                                                        shall not                power of
                                                                                   restrict the polket   of the
                                                                                                            the
CorporatiOti to make any indemnification permitted
Corporation ternakintiVindainnification        permitted byby law.
                                                               law.

        The-Board
        The Board of      Directors may authorize the purchase of
                      of tireotors:inay:atithiiri#Ithe                    of and  maintain insurance on
                                                                             and maintain                  on behalf
                                                                                                               behalf
of
of any
    any director,              employee or agent
                    officer, employee:Or
         director, officer,                     agent -of
                                                       of the    Corporation against
                                                           the Corporation       against anyany liability
                                                                                                 liability asserted
                                                                                                             asserted
against bi
against:or incurred
            incurred by    him or
                      by him        her which arises-but
                                or herWhich     arises out of
                                                            of such   person's status
                                                               such person's     status in
                                                                                         in such   capacity or
                                                                                             such capacity    or who
                                                                                                                 who
is
is or       serving at
      was serving
   or was            at the   request of
                         the request       the -C
                                        of the    orporatiOn,as
                                                Corporation    as    -director,  officer, employee or agent of
                                                                      director, officer,
                                                                                 a                      or  agent   of
         foreign or
another foreign       domestic corporation,
                  or domestic      corporation, partnership,             venture, trust,-employee
                                                                 joint venture,.
                                                   partnershivjoint                                    benefit plan
                                                                                   trust, employee benefit




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                                                                                                                                      SFFA 000080
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or otherwise,
or otherwise, or
               or out
                  out of acts taken
                      of acts taken in
                                    in such  capacity, whether
                                       such capacity,    whether or
                                                                 or not the Corporation
                                                                    not the Corporation would have
                                                                                        would have
the power to
the power  to indemnify
              indemnify the
                         the person against that
                             person against that liability
                                                 liability under law.
                                                                 law.

         If any
            any part
                 part of this Section
                      of this  Section shall
                                       shall be        in any
                                             be found in  any action,
                                                              action, suit
                                                                       suit or proceeding to
                                                                            or proceeding   to be
                                                                                               be invalid
                                                                                                  invalid or
                                                                                                          or

ineffective,
ineffective, the  validity and
              the validity       the effectiveness of
                             and the               of the remaining parts
                                                      the remaining   parts shall
                                                                             shall not be
                                                                                   not be affected.
                                                                                          affected.

         Section 7,07
        Section   7.07     Dissolution. The
                           Dissolution.            Corporation may
                                             The Corporation      may be be dissolved
                                                                             dissolved at  at any    time by
                                                                                              any time      by majority
                                                                                                                majority
vote of       directors
      of the directors
         the              then
                          then  in
                                in  office
                                    office   and
                                             and  upon
                                                  upon  the
                                                        the  taking
                                                             taking   of
                                                                      of  any
                                                                          any   other.actions
                                                                                other  actions    required'under
                                                                                                  required     under  the
                                                                                                                      the
Act:
Act. In  the event of
      In the            dissolution or
                     of dissolution        final liquidation of
                                        or final                  the Corporation,
                                                               of the  Corporation, all all of the remaining
                                                                                             of the   remaining    assets
                                                                                                                   assets

of the
of     Corporation shall,
   the Corporation    shall, after   paying or
                               after paying        making provision
                                               or making    provision for    the payment
                                                                        for the   payment of      all of
                                                                                              of all   of the
                                                                                                          the liabilities
and obligations
and   obligations ofof the     Corporation
                         the Corporation         and
                                                 and  for  necessary
                                                           necessary      expenses
                                                                          expenses    thereof,
                                                                                      thereof,      be
                                                                                                    be  distributed
                                                                                                         distributed    as
                                                                                                                        as

determined by
determined     by the   Board of
                  the Board          Directors in
                                  of Directors     in accordance withwith thethe Articles
                                                                                  Articles of of Incorporation
                                                                                                   Incorporation and  and
applicable law.
applicable   law.




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                                                           -
                                                               7
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                                                                                                                    SF    000081
                                                                                                                       FA 000001
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                             EXHIBIT BB
                             EXHIBIT

                      Conflict
                      Conflict of
                               of Interest.
                                  Interest Policy
                                            Policy
                            (see
                            (see attached)




                                                                    SF FA 000082
                                                                    SFFA  000082

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                                                                                                Adopted. August
                                                                                                Adopted  August 6,
                                                                                                                6, 2014
                                                                                                                   20/4



                              STUDENTS FOR FAIR
                              STÛDENTS FOR FAIR ADM I SSIONS,INC.
                                                ADMISSIONS,  INC.

                                           Conflict of Interest l'olicv
                                           Conflict of          Policv


I.
I.       Purpose
         Purpose

The purpose of     of this
                       this Conflict of   of Interest Policy
                                                        Policy is
                                                                is to
                                                                   to protect
                                                                        protect the
                                                                                 the interests
                                                                                      interests of Students
                                                                                                      Students for Fair
                                                                                                                     Fair
Adinissionk
Admissions, Inc.  Inc. (the    "Corporation") as
                         (the 'Corporation")       as a tax-exempt,
                                                     a    tax-exempt, charitable       and -educational
                                                                          charitable and     educational organization
                                                                                                           organization
when
when itit is
           is cOntemplating
              contemplating entering
                                  entering into
                                              into a transaction
                                                a     transaction or
                                                                   or arrangement
                                                                       arrangement thattriight
                                                                                       that might benefit
                                                                                                     benefit the
                                                                                                             the ptivate
                                                                                                                  private
interest ofof an
               an officer
                   officer oror director
                                 director ofthe
                                            of the Corporation
                                                     Corporation or:might
                                                                   or might poisibly
                                                                               possibly result
                                                                                           result in
                                                                                                   in an
                                                                                                      an excess
                                                                                                         excess benefit
transaction.
transaction. This  This Policy
                           Policy isis intended
                                        intended "ttic
                                                    to supplement
                                                        supplement but but not
                                                                            not :replace
                                                                                  replace any
                                                                                            any applicable
                                                                                                  applicable state
                                                                                                               state and
                                                                                                                      and
fedetal
federal laws
          laws governing
                 governing conflicts
                                conflicts ofof interest applicable to
                                                         applicable   to nonprofit entities.
                                                                                     entities.

II.
II.      Definitions
         Definitions

         A.
         A.       Interested
                  Interested Person
                               Person — - -Any
                                           Any director,
                                                director, principal
                                                           principal officer,
                                                                     officer, or-member,
                                                                              or member of  of a committee
                                                                                                 committee
                                                                                                         a


                  with
                  with Board of of Directors-delegated
                                   Directors-delegated    powers,  who
                                                                   who   has
                                                                         has a -direct
                                                                                direct
                                                                                     a Or
                                                                                       or indirect
                                                                                          indirect -financial
                                                                                                    financial
                  interest, as
                            as defined
                               defined below,
                                       below, is
                                               is an
                                                  an interested
                                                      interested person.
                                                                 person.

         D.
         Ë        Financial   Interest - A
                  Financial Interest-    A person.has
                                            person has aa financial
                                                          financial interest  if the
                                                                     interest if the person
                                                                                     person has,-directly
                                                                                            has, directly or
                                                                                                          or

                  indirectly, through
                              through business,
                                      business, investment,
                                                  investment, or
                                                               or family:
                                                                  family:

                  1.
                  1.       An
                           An ownership
                               ownership oror    investment interest
                                                             interest in
                                                                      in any
                                                                          any entity
                                                                              entity with
                                                                                     with which
                                                                                          which the
                                                                                                 the
                                                                                        ,      _
                           Corporation
                           Corporation has
                                       has a transaction  or arrangement;
                                              transaction or
                                                 a           arrangement;

                  2.
                  2.       A compensation
                           A  compensation arrangement,
                                            arrangement with
                                                          with the
                                                                the Corporation
                                                                     Corporation oror with
                                                                                      with any.entity
                                                                                            any entity or
                                                                                                       or
                           individual With-which  the Corporation
                                      with which the  Corporation has.a
                                                                   has  transaction arrangement;
                                                                         transaction
                                                                                 a    or arrangement;  or
                                                                                                       or


                  3.
                  3.       A
                           A   potential
                               potential ownership
                                           owncrship • oror  investment interest
                                                             investment  interest in,
                                                                                   in, or
                                                                                        or compensation
                           arrangement with;
                           arrangement    with, any
                                                any entity  or individual with
                                                     entity or            with which
                                                                                which the  Corporation is
                                                                                       the Corporation is

                           negotiating a transaction
                           negotiating  a transaction or
                                                      or  arrangement.

                  Compensation     includes direct
                  Compensation includes      direct and
                                                     and indirect
                                                          indirect remuneration
                                                                   remuneration as  as well
                                                                                        well as  gifts or
                                                                                              as gifts or favors
                  that
                  that are  not insithstaittial:
                        are not  insubstantial. -A A financial
                                                      financial interest is    not necessarily a conflict
                                                                           is not                     conflict of
                                                                                                         a     of
                  interest.
                  interest. Under             III.B, a person whp:haila
                             Under Section IILB,          a      who has      financial
                                                                               financial interest may
                                                                                 a                  may have-a
                                                                                                          have         a


                  conflict
                  conflict of-interest
                            of interest only
                                        only if   the Boatd
                                               if the  Board of Directors--
                                                                   Directors or or comMittee
                                                                                   committee withwith Board
                                                                                                       Board ofof
                  Directors-delegated powers decideS
                  Directors-delegated             decides that:a
                                                            that  conflict Ofinterest
                                                                  e0oftiOt
                                                                      a     of interest exists.
                                                                                         exists.

III.
HI.      Procedures
         Procedures
                 _     .
         A.
         A.     Duty to:Disclose--
               Duty    to Disclose - In  connection with
                                      In connection   with any
                                                            any actual  or possible conflict
                                                                 actual or              conniet of interest,
                                                                                                     interest,
               an               person must-•
                an interested person     must disclose
                                               disclose ohon an
                                                              an ongoing
                                                                  ongoing basiS
                                                                             basis the    existence of the
                                                                                     the existence         the
                financial
                fmancial interest
                          interest and  be given
                                   and be  given the
                                                  the opportunity
                                                      opportunity toto disclose
                                                                       disclose ell
                                                                                  all 'material  facts to
                                                                                       material facts_  to the
                                                                                                           the
               directors
                directors and  members of
                          and Members     of committees
                                             committees withwith Board or   Directors delegated
                                                                         of Directors    delegated powers
                                                                                                      powers
               considering   the proposed transaction oratrangement.
                considering the                          or arrangement.




                                                                  •
                                                              1


                                                                                                                  SFFA
                                                                                                                  SFFA 000083
                                                                                                                       000083

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                                                                                       Adopted August4,  2014
                                                                                                      6, 20 |4




 B.
 B.     Determining.    Whether a Conflict
        Determining Whether           a Conflict ofof Interest Exists
                                                                  Exists -- After
                                                                             After disclosure
                                                                                     disclosure of the
                                                                                                of the
        financial
        financial interest
                   interest Sand
                             and -all    material facts,
                                   all material      facts, and-after
                                                             and after anyany discussion
                                                                                discussion with    the
                                                                                             with the
        interested
        interested :person,  he/she shall
                    person, he/she            leave the
                                       shall leave    the Board
                                                           Board ofof Directors
                                                                      Directors or or committee   with
                                                                                      committee with
        Beard
        Board ofof Directors-delegated
                    Directors-delegated powerspower§ Meeting
                                                         meeting while      the determination
                                                                    while the     determination ofof a        a


       'conflict of
                  of interest
                      interest is
                                is  diacussed and
                                    discussed            voted upon.
                                                  and voted     upon. - The remaining
                                                                                 remaining board
                                                                                             board oror
        committee:members
        committee members shallshall decide if if a conflict
                                                    conflict of
                                                     a        of interest exists,
                                                                          exists.

 C.
 C.     Procedures for
        Procedures     Addressing the
                   for Addressing     Conflict of
                                  the Conflict of Interest

       1.
       1.       An
                An interested   person may
                    interested person    may make      presentation at
                                               make a presentation
                                                             a       at the
                                                                        the Board ofof Directors
                                                                                        Directors or
                                                                                                   or
                committee
                committee with.
                             with Board of      Directors-delegated powers
                                            of Directors-delegated     powers meeting,
                                                                               meeting, binbut after
                the
                the presentation,    he/she shall
                    presentation, he/she     shall leave  the meeting
                                                   leave the            during the
                                                               meeting during   the discussion
                                                                                     discussion of,
                                                                                                  of,
                and
                and the
                     the vote
                          vote on,
                                 on, the
                                      the transaction
                                          transaction oror arrangement
                                                            arrangement involving
                                                                           involving the
                                                                                       the possible
                conflict
                conflict of
                         of interest,
                            interest.

       2.
       2.       The President of
                The              of the
                                    the Corporation
                                          Corporation or
                                                       or chairperson
                                                          chairperson of   the committee
                                                                        of the   committee with
                                                                                             with
                Board of
                Board    of Directors-delegated poWers shall,
                             Directors-delegated    powers   shall, if appropriate, appoint a
                                                                    if appropriate,    appoint                a


                disinterested
                disinterested person
                                person or or committee
                                               committee to
                                                          to  investigate   alternatives to
                                                              investigate alternatives    to  the
                                                                                              the
                proposed
                proposed transaction
                           transaction of
                                        or arrangement.
                                            arrangement.

       3.
       3.       After exercising
                After               due diligence,
                       exercising due    diligence, the
                                                    the Board
                                                        Board of
                                                               of Directors  or committee
                                                                  Directors or  committee with
                                                                                           with
                Board
                Board of      Directors-delegated powers
                         of Directors-delegated       powers shall
                                                               shall   determine   whether the
                                                                       determine whether     the
                Corporation
                Corporation cancan obtain      with reasonable efforts
                                     obtain with                efforts a more
                                                                            more advantageous
                                                                                   a


                transaction
                transaction or
                             or arrangement from       person or
                                                from a persen    entity that
                                                              or entity
                                                                 a           would not
                                                                        that would not give rise
                                                                                            rise
                to   conflict of
                to a conflict
                   a          of interest
                                 interest.

        4.
        4.      If a more
                    a more advantageous transaction
                                                  transaction or or arrangement is not   is  not reasonably
                possible-under
                possible     under    circumstances
                                      circumstances      not
                                                         not  producing
                                                              producing      aa  conflict
                                                                                 conniet     of
                                                                                             of interest,
                                                                                                 interest, the
                                                                                                            the
                Board Of
                Board    of Directors
                               Directors or      committee with
                                             or committee              Board of Directors-delegated
                                                                with Board             Directors-delegated
                powers
                powers Shill       determine by
                          shall determine              majority vote
                                                by a majority
                                                         a        vote of of the
                                                                               the disinterested
                                                                                    disinterested directors
                                                                                                      directors
                whether
                whether the  the transaction
                                   transaction    or
                                                  or   arrangement     is
                                                                       is    in
                                                                             in   the
                                                                                  the  Corporation's
                                                                                        Corporation's      best
                                                                                                           best
                interest,
                interest, for
                            for its   own benefit;
                                 its own     benefit, and
                                                        and whether
                                                             whether it it is    fair and
                                                                            is fair   and reasonable
                                                                                             reasonable,      In
                                                                                                              In
                conformity with with the             determination it
                                        the above determination      it shall
                                                                          shall make
                                                                                   make its
                                                                                          its decision
                                                                                               decision Oslo
                                                                                                          as to

                whether
                whether to to enter
                               enter into
                                       into the
                                            the transaction
                                                transaction oror arrangement.


 1).
 D.     Violations of
        Violations    the Confliet
                   of the Conflict of Interest Policy
                                   of Interest

       1.
       1.       lf the
                If the Board of of Directors
                                    Directors or   committee with
                                                or committee     with Board of of Directors-delegated
                                                                                   Directors-delegated
                powerS
                powers has
                         has reasonable cause
                                            cause to    believe a mernber
                                                    to believe     member has
                                                                     a       has failed
                                                                                  toiled to
                                                                                         to disclose
                                                                                            disclose anan

                actual:or    possible conflict of interest, it
                actual or passible     conflict   of  interest, it shall
                                                                   shall  inform-
                                                                          inform   the
                                                                                   the  member    of
                                                                                                   of the
                                                                                                      the
                basis  for such
                basis for   such belief and
                                          and nfford    the member an
                                               afford the              an opportunity
                                                                           opportunity toto explain
                                                                                            explain the
                                                                                                      the
                alleged failure
                          failure to
                                  to disclose.
                                     disclose.

        2.
        2.      If,  after hearing the
                If, after                   member's response
                                      the member's         response    and   atter making
                                                                       and after    making further
                                                                                               further
                investigation as wan-anted
                investigationas    warranted byby the   circumstances, the
                                                   the circumstances,    the Board Of of Directors or
                                                                                         Directors    or

                committee with Board of
                committee-With                    Directors-delegated powers
                                             of Directors-delegated                  determines the
                                                                           powers determines        the

                member
                member hashas failed
                               failed to
                                      to disclose an an actual   or possible conflict
                                                         actual or            conflict of  interest, it
                                                                                        of interest,   it

                shall take appropriate
                shall take               disciplinary and
                            appropriate disciplinary     and corrective action.
                                                              corrective action.


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                                                                                         Adopted Augustó, 2014



IV,
IV,    Records
       Records of Proceedings
                  Proceedings

       The
       The minutes
            minutes of the
                       the Board of Directors
                                       Directors and
                                                 and all
                                                     all committees
                                                         committees with
                                                                    with Board of
                                                                               of Directors-
                                                                                  Directors-
       delegated powers shall
                        shall contain:
                              contain:

       A.
       A.     The
              The names
                    names of of the
                                 the persons
                                      persons who
                                                who disclosed or   or otherwise
                                                                       otherwise were
                                                                                  were found
                                                                                          found to
                                                                                                 to have
                                                                                                     have a   a


              financial
              financial interest inin connection
                                      connection with
                                                   with an
                                                         an actual
                                                             actual oror possible
                                                                         possible conflict
                                                                                  conflict of interest
                                                                                               interest, the
                                                                                                          the
              nature of
                      of the financial
                         the  financial interest, any
                                                  any action
                                                       action taken
                                                                taken to
                                                                       to determine
                                                                          determine whether
                                                                                      whether a conflict
                                                                                                 conflict of
                                                                                                   a       of
              interest was
                       was present,
                             present, and
                                       and the
                                            the decision of
                                                          of the
                                                             the Board of of Directors
                                                                             Directors or
                                                                                        or committee
                                                                                            committee with
                                                                                                        with
              Board ofof Directors-delegated
                          Directors-delegated powers as    as to
                                                               to whether
                                                                   whether -a conflict
                                                                            a  conflict of interest in
                                                                                                     in fact
                                                                                                         fact
              existed;
              existed; and
                       and


       B.
       B.     The names
                    names of the
                              the persons
                                   persons who
                                            who were
                                                 were present for discussions and
                                                                               and votes
                                                                                    votes relating
                                                                                           relating to
                                                                                                     to
              the
              the transaction
                   transaction oror arrangement, the
                                                   the content of
                                                                of the
                                                                    the "discussion
                                                                         discussion (includffig
                                                                                     (including anyany
              alternatives
              alternatives to
                           to the
                              the proposed transaction or
                                                        or arrangement),
                                                           arrangement), and
                                                                           and a record
                                                                                 record ofany
                                                                                     a      any votes
                                                                                                 votes
              taken  in connection
              taken hi  connection with   the proceedings.
                                     with the proceedings.

V.
V.     Compensation
       A.
       A.     A
              A director
                  director who
                            who receives compensation,
                                           compensation, directly
                                                            directly or
                                                                      or  indirectly,
                                                                          indirectly, from
                                                                                        from the
                                                                                               the
              Corporation for services is
              Corporation              is precluded fixtnt
                                                     from voting
                                                           voting on
                                                                   on matters
                                                                      matters pertaining
                                                                               pertaining to
                                                                                           to that
                                                                                              that
              director's
              director's compensation.
                         compensation.

       B.
       B.     A
              A voting
                 voting member
                         member of of any     committee with
                                       any committee      with Board of  of Directors-delegated
                                                                            Directors-delegated powers
              whose
              whose    jurisdiction includes
                       jurisdiction                  compensation matters
                                        includes compensation           matters   and
                                                                                   and   who receives
              compensation,
              compensation, directly
                               directly or or   indirectly, from
                                                             from the     Corporation for services is
                                                                     the Corporation                is

              precluded
              precluded from
                         from voting
                               voting on
                                       on matters`pertaining
                                            matters  pertaining  to
                                                                 to that
                                                                    that member's
                                                                         member's    compensation.

       C.
       C.     No
              No director    or voting
                   director or   voting member of  of any
                                                        any committee     with Board
                                                               committee with    Board of Directors-
                                                                                             Directors-
                          powers whose jurisdiction
              delegated powers             jurisdiction includes                    matters and
                                                          includes compensation matters       and who
                                                                                                   who
              receives compensation,
                         compensation,    directly
                                          directly  or
                                                    or   indirectly, from the
                                                                      from  the   Corporation,
                                                                                  Corporation,   either
              individually  or collectively, is
              individually or                is prohibited
                                                prohibited from
                                                             from providing information
                                                                             information toto any
                                                                                              any such
                                                                                                   such
              committee
              committee regardint
                          regarding OOmpensation.
                                      compensation.

VI.    AnnualStatements
             Statements

       Each                       officer ,and
             director, principal officer
       Bach director,                      and member of a  a committee  with ßoard of
                                                              committee with-Board    of Directors-
                                                                                         Directors-
                                                                              person·
       delegated powers
                  powers shall
                          shall ahnuatly. sign a:statement
                                annually digit  astatement which
                                                           which affirms
                                                                 affirms such
                                                                         such person:


       A.
       A.     Has
              Has received a copy-of
                             copy of the
                             a       the Conflict of interest
                                                      Interest POIlay•
                                                               Policy;

       B.
       B.     Has
              Has read and understands the
                  read and             the Policy;
                                           Policy;

       C.
       C.     Has agreed to
              Hits       to comply
                            comply with
                                   with the
                                        the Polley;
                                            Policy; anti
                                                    and


       D.
       D.     Understands the the     Corporation is
                                      Corporation  is  a nonprofit,
                                                          a              charitable and
                                                            nonprofit, charitable       and  educational
                             and in
              organization and
              organization          in order
                                       order to
                                             to maintain
                                                maintain its
                                                          its federal tax
                                                                       tax .exemption       must engage
                                                                            exemption it must it  engage
              primarily in
                         in activities  which acct
                            activities Which       Mpiish one
                                               accomplish   one or
                                                                or more
                                                                   more of its
                                                                             its tax-exettiptpurposes.
                                                                                  tax-exempt purposes.



                                                    3
                                                    3

                                                                                                          SF FA 000085
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VII.
VH.     Periodie Atviews
        Periodic Reviews

        To
        To ensure
            ensure    the
                      the Corporation
                           Corporation operates
                                         operates inin a manner consistent
                                                          a         consistent with
                                                                                with its
                                                                                      its charitable
                                                                                          charitable and
                                                                                                       and
        educational
        educational    purposes  and
                                  and does
                                      does -not
                                            not engage
                                                  engage inin activities
                                                              activities that
                                                                         that could  jeopardize its
                                                                              could jeopardize    its tax-
                                                                                                      tax-
        exenipt  status, periodic
        exempt status;                       shall be
                                    reviews Shall
                          periodic reviews          be conducted,
                                                        conducted. The The Periodic
                                                                           periodic reviews
                                                                                     reviews shall,
                                                                                              shall, at
                                                                                                      at a a


        minimum,
        minimum, include
                    include the
                             the following
                                 following subjects:,
                                            subjects:

        i.
        i,      Whether
                Whether compensation
                         compensation arrangements and and benefits
                                                             benefits are
                                                                       are  reasonable, based
                                                                                          based on
                                                                                                on
                competent survey
                          survey informatinnrand
                                 information, and the
                                                  the result of arm's
                                                      result of arm's length
                                                                      length bargaining;
                                                                              bargaining; and
                                                                                           and


        li.     Whether
                Whether partneiships,   joint ventures, and
                         partnerships, joint               and arrangements with.management
                                                                                with management entities
                                                                                                     entities
                conform
                conform to
                         to the
                              the CoiPomtion's
                                    Corporation's written      pelicies, are
                                                    written policies,    are properly
                                                                               properly reconled,
                                                                                          recorded, reflect
                                                                                                      reflect
                reasonable investment
                            investment oror payments
                                            payments .forfor goods
                                                             goods and
                                                                     and services, further
                                                                                     further the
                                                                                             the charitable
                                                                                                  charitable
                and
                and educational
                     educational purposes of  of the
                                                  the Corporation
                                                       Corporation and and dodo not
                                                                                 not result  in inurement,
                                                                                      result in: inurement,
                impermissible
                impermissible private
                                private benefit
                                        benefit or
                                                 or in
                                                    in an
                                                       an excess
                                                           excess benefit
                                                                   benetit transaction.
                                                                            transaction.

VIII. Use
VHI.      ofDutside
      Use of Outside Etperts
                     Experts

        When conducting:the
              conducting the periodic
                                periodic reviews    pursuant to
                                          reviews pursuant   to Section        the Corporation
                                                                Section VII, the                  may, but
                                                                                    Corporation may,    but
        need not, use
        need not, use outside   advisors. If outside experts
                       outside advisors.               experts are
                                                               are used,
                                                                   used, their.  use shall
                                                                          their use   shall not relieve the
                                                                                            not relieve the
        Board of  Directors of
              of Directors      its responsibility
                             of its responsibility for
                                                   for ensuring
                                                       ensuring periodie
                                                                 periodic reviews    are conducted.
                                                                           reviews are
                                                                     . ,




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                                 STUDENTS
                                 STUDENTS FOR
                                          FOR FAIR ADMISSIONS, INC.
                                              FAIR ADMISSIONS, INC.

                                Annpal
                                Annual Conflict of Interest
                                       Conflict of Interest Disclosure
                                                            Disclosure Statement
                                                                       Statement

I hereby
I  hereby acknowledge that   that I have
                                       Ihave received
                                              received a copy
                                                            acopy ofof :Students
                                                                        Students for Fair     Admissions, Inc.'s
                                                                                        Fair Admissions,      Inc.'s
Conflict of Interest Policy
Conflictof             Policy ("Policy)
                                 ("Policy") and    that Is have
                                               and that I  have read
                                                                 read and                its terms:
                                                                        and understand its   terms. I understand
                                                                                                      I understand
that  Students for
that Students         Fairness; Inc.
                 for Fairness,     Inc. is     tiOnprofit,.
                                               nonprofit, Charitable
                                                  a         charitable :and
                                                                          and educational fOganization       and in
                                                                                             organization 'and     in
order to
ordir       maintain its
        to maintain     its federal tax   tax exam-001"h
                                              exemption     it must
                                                               must engage       primarily in activities which
                                                                       engage printarily         activities   which
ascot         one or
         dish one
accomplish          or more
                       more of of its    tax-exempt purposes.
                                    its tax-exempt    purposes.     To
                                                                    To the
                                                                         the best
                                                                             best 1,0
                                                                                  of My    knowledge, except
                                                                                      my knoWledge,.      except as
                                                                                                                  as

disclosed    below, I do
disclosed below,      I  do not
                              not have         Conflict of
                                    have a Conflict
                                              a          of Interest, as  as defined inin the   Policy, -requiring
                                                                                           the -Policy,   requiring
disclosure under
disalOsure          the Policy.
             under the   Policy.

Orfltthout
    ithout exception

   Except *described
In Except
O         as described below
                       below

Disclosure  of Financial Interest thatmay
Disclosure ofFinattclat            that may give.tise
                                            give rise to a Conflict
                                                      to a          of Interest
                                                           Conflict of          (a written statement
                                                                       Interest (a         statement
may
may be
     be attached
        attached ifadditional
                  if additional space
                                space is-needed.):
                                         needed): is




If
If any
   any situation   should arise
        situation sitould arise in
                                 in the
                                    the future which
                                               which I believe may
                                                                lmay oror does
                                                                          does pose    Conflict of Interest,
                                                                                pose a Conflict-of
                                                                                           a       Interest, I          I




will promptly
will  promptly  disclose  the
                          the  applicable  Financial Interest in
                                                     Interest in writingtothe
                                                                  writing  to the President
                                                                                  President.

   signing below I indicate my
By •Signingbelow
BY                    I                   to comply
                               agreement to•
                            my agreemrsnt    comply with'the terms of
                                                    with the terms of the Policy and of this
                                                                      the Policy;and    this
Disclosure Statement.

Signature:                                                          Date:
Print Name:.              014      "'";'°-/



                                                                                                                SF FA 000087
                                                                                                                SFFA  000087

                                                                                                           EXHIBIT L, PAGE 20
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                                              CONFIDENTIAL
                                              CONFIDENTIAL



                                            FAIR ADMISSIONS;
                                        FOR FAII
                               STUDENTS FQR
                               STUDENTS          ADMISSIONS, INC
                                                             INC.

                              Annual Conflict
                              Annual Conflict of Interest DiSelostite-
                                              of Interest Disclosure Statement
                                                                       Staietneht

Thereby
I  hereby acknowledge that    that I have
                                    I         received a copy
                                         have received      copy of Students
                                                             a          Students for
                                                                                   for Fair
                                                                                        Fair Admissions,
                                                                                                Admissions, Inc.'s
                                                                                                                Inc.'s
Conlict of
COnflict  of Inteieit
              Interest Policy
                        Policy ("Policy")
                                  ("Policy") and
                                               and that
                                                   that I have
                                                         Ihave read    and understand
                                                                 read and   understand itsits terms.
                                                                                               terms. I understand
                                                                                                        I understand
that
that Students
      Students forfor Fairness,..
                       Fairness,    Inc. is a- honprofit,
                                    Inc. is    nonprofit. charitable : and
                                                  a                      and educational organization and      and inin

order to
order   to maintain its  its federal tax  tax exemption it it   must   engage primarily
                                                                must "engage     primarily in  in  activities which
                                                                                                   activities   which
accomplish
accomplish one one oror more
                        more of  of its               purposes. To
                                     its tax-exempt purposes.       To the
                                                                        the best  of my
                                                                             best of        knowledge, except
                                                                                      my knowle:dge,        except as
                                                                                                                    as

disclosed
disclosed   below, I do        not have
                          do not
                          I           have a Coiinflict
                                              a          of Interest,
                                               Conflict of    Interest, as
                                                                         as defined in in   the
                                                                                            the Policy,
                                                                                                  Policy, requiring
disclosure
disclosure under
             under the
                     the Policy.
                          Policy.

111-Without
U-Without exception

0
O Except
  Except as
         as described below



Disclosure of
            of Financial Interest that
                                   that may
                                        may give
                                            give rise
                                                  rise to    Conflict of
                                                       to aa Conflict of Interest
                                                                         Interest (a written statement
                                                                                  (a written statement
may;be
may     attached if
     be attached  if additional
                     additional space
                                space is needed):
                                         needed): is




If any situation should
liariy-situation  should arise
                         arise in  the future which I believe
                                in the                believe may
                                                                may or
                                                                 l       does pose
                                                                      or does          Conflict of
                                                                               pose a Conflict
                                                                                            a   of Interest,
                                                                                                   Interest, 1            I



will promptly disclose the applicable
will promptly   disclose the  applicable Financial Interest
                                                    Interest in  writing
                                                             in writing to the President.
                                                                          to the  President.

By signing
By signing below-I indicate my
           below inthoEite
                      I     my ag*ment
                               agreement to".Comply witirthe
                                         to comply with   the ternit of the Policy-and
                                                              terms Ofthe   Policy and oft*
                                                                                       of this
Disclosure Statement.
           Statement.


                                                                     Date;                        14,140/
    •
Print:Nan*




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                                                                                                                    SFFA 000088
                                                                                                                    SFFA

                                                                                                              EXHIBIT L, PAGE 21
                               Case 1:20-cv-00763-RP Document 45-12 Filed 03/08/21 Page 22 of 30

                                                                                                                                                                                          CONFIDENTIAL



                                                                                                                                                                  STUDENTS FOR FAIR ADMISSIONS, INC,

                                                                                                                                                             Annual Co/Metier Interest Disclosure Statement
               I hereby acknowledge that I have received a copy of Students- for fait Admissions, Inc.'s
               Conflict of Interest Policy (uPtilicy") and that I have read and understand 'tit-terms. I understand
               that Students for Faintelai: Inc, is a nonprofit, charitable and educational nrganiiation and in
               order to maintain its ibderal tax exemption it must engage primarily in activities which
               accomplish one or mere of its tax-exempt purposes. To the best of my knowledge, except as
               disclosed below, I do not have a Conflict "of Interest, as defined in the Policy, requiring
               disclosure under the Policy.

               I&' Without exception

               0 Except as described below




                                                                                                                                                                                                                                                                                                                I
                                                                                                                             Conflict of Interest, as defined in the Policy, requiring
                                                                                                                                                            for Fair Admissions, Inc.'s




                                                                                          accomplish one or more of its tax-exempt purposes. To the best of my knowledge, except as
                                                                                                                              nonprofit, charitable and educational organization and in
                                                                                                                                           must engage primarily in activities which
                                                                                                                                                                             understand




                                                                                                                                                                                                                                                                                                            future which believe may or does pose Conflict of Interest,
               Disclosure of Financial Interest -that maysivetise to &Conflict of Interest. (it wiitten statement                                                                                                                       statement
               may be attached if additiOnal space isteededj:
                                                                                                                                           I




                                                                                                                                                                                                                                  Conflict of Interest (a written
                                                                                                                                                       understand its terms.




                                                                                                                                                                                                                                                                                                    applicable Financial Interest in writing to the President.
                                                                                                                                                                                                                                                                                                                a
                                                         Interest Disclosure Statement
                    STUDENTS FOR FAIR ADMISSIONS, INC.



                                                                                          copy of Students
CONFIDENTIAL




                                                                                                                          have read and




                                                                                                                                                                                                                                           to   a
                                                                                                                                                                   it




                                                                                                                                                                                                                                  give rise




                                                                                                                                                                                                                                                                                                                     I
                                                                                                      a




                                                                                          order to maintain its federal tax exemption
                                                                                                                                    I
                                                                                          received




                                                                                                                                                                                                                                                                    needed):
                                                                                                                          and that
                                                              of




                                                                                                                                                                                                                                       may
                                                         Annual Conflict


                                                                                                                    Conflict of Interest Policy ("Policy")




                                                                                                                                                                                                                                                                       is
                                                                                                                                                             a




                                                                                                                                                                        a
                                                                                             have




                                                                                                                                                                                                                                  Disclosure of Financial Interest that
                                                                                                                                                                                                                                  may be attached if additional space
                                                                                                                                                             is




                                                                                                               do not have




                                                                                                                                                                                                                                                                                                          arise in the
                                                                                          that Students for Fairness, Inc,




               If any situation 'should arise in the future which I believe may or-doeaPcse a Conflict of Imam,.
                                                                                                    I




                                                                                                                                                                                                                described below




               will promptly disclose the applicable Financial Interest.M writing to the F!resident.
                                                                                          hereby acknowledge that




                                                                                          disclosure under the Policy.




                                                                                                                                                                                                                                                                                                                                               the


               By signing below I Mdicate my agreement to tompilywilkthetennsnf the Palleyan                                                                                                                                                                                   this
                                                                                                                                                                                                                                                                                                             situation should
                                                                                                                                                                                           WWithout exception




                                                                                                                                                                                                                                                                                                      will promptly disclose


               Disclosure Statement.
                                                                                                     below,                                                             I




               Signature:                                                                44-
                                                                                          i0- 4(
                                                                                                                                                                                                                    as
                                                                                                                                                                                                                 O Except
                                                                                          disclosed




               PrintlittMe:, 34;sta:0 .C-fi64#,C
                                                                                                                                                                                                                                                                                                    If    any
                                                                                                     I




                                                                                                                                                                                                                                                                                      SFFA 000089

                                                                                                                                                                                                                                                                                EXHIBIT L, PAGE 22
Case 1:20-cv-00763-RP Document 45-12 Filed 03/08/21 Page 23 of 30
                      CONFIDENTIAL
                      CONFIDENTIAL


                           Extmore
                           EXHIBIT C
                    Compensation
                    Compensation Review-Poliey
                                  Review Policy
                          (see
                          (see attach
                               attached)




                                                                    SFFA
                                                                    SFFA 000090
                                                                         000000

                                                             EXHIBIT L, PAGE 23
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                                               CONFIDENTIAL
                                               CONFIDENTIAL
                                                                                                         AdpptectoffAugust6;
                                                                                                         Adopted on August   2914
                                                                                                                             .'0/4
                                                                                                                             6,




                               STUDENTS FOR
                               STUDENTS     FAIR ADMISSIONS,
                                        FOR FAIR ADMISSIONS, INC.
                                                             INC.

                                            Compensation Review
                                            Compensation        Policy
                                                         Review Policy



This
This Compensation          Review Policy
         Compensation Review          Policy applies
                                              applies to to  Students
                                                             Students for
                                                                       for Fair
                                                                            Fair Admission,
                                                                                  Admission, Inc.'s
                                                                                                Inc.'s (the
                                                                                                        (the
"POVOration")
"Corporation") Chief       Employed Executive,
                     Chief Employed    Executive, Officers,
                                                    Officers, Key   Employees, and
                                                               Key Employees,   and Disqualified
                                                                                     Disqualified Fersons.
                                                                                                   Persons.
The
The . . prirpose
        purpose of   this policy
                  of this policy is
                                 is to ensure the
                                    to ensure  the Corporation
                                                    Corporation does
                                                                  does not
                                                                       not -engage
                                                                           engage inin any
                                                                                       any "excess
                                                                                           "excess benefit
                                                                                                     benefit
transaction"
transaction" as  as dein1(41
                    defined in           4958 of
                             in Section 4958   of the
                                                  the Internal
                                                       Internal Revenue
                                                                Revenue Code (1.R.C.")
                                                                                ("1.R.C.") and
                                                                                           and regulations
                                                                                                regulations
promulgatedthereunder.'
promulgated      thereunder:1,
i     -- Defhlitions
         Definitions

        a.
        a.        Chief Employed
                  Chief  Employed Executive
                                      Executive -— TheThe chief
                                                           chief executive-
                                                                 executive officer,
                                                                            officer, executive   director, or
                                                                                     executive director;    or

                  top
                  top management
                      management     official
                                     official (i.e.,
                                              (i.e., the
                                                     the employee
                                                          employee   who
                                                                     who  has
                                                                           has  tadniate
                                                                                ultimate   responsibility
                                                                                           responsibility for
                                                                                                           for
                  implementing
                  implementing thethe decisions
                                        decisions of  of the
                                                          the Corporation's
                                                                Corporation's governing
                                                                                 governing bodybody oror  for
                                                                                                          for
                  Supervising
                  supervising the
                              the management, administration,
                                                    administration, or
                                                                    or operations
                                                                       operations of-the
                                                                                    of the Corporation).
                                                                                            Corporation).

        b.         Officer —
                   Officer  -   A
                                A person
                                    person elected
                                             elected or  or appointed
                                                              appointed to    to manage
                                                                                 manage      the.
                                                                                             the Corporation's
                                                                                                  Corporation's daily  daily
                   operations,
                   operations, such
                                 such asas a president, vice
                                                 a              vice president,
                                                                      president, secretary,
                                                                                     secretary, or or treasurer.
                                                                                                         treasurer.     The
                                                                                                                        The
                   officers
                   officers ofof the
                                  the COrp6ration
                                        Corporation are   are    determined
                                                                 determined -by   by    reference to to itsits   organizing
                                                                                                                 organizing
                   document, bylaws,
                   document,     bylaws, or or    resolutions of
                                                  resolutions      of its
                                                                        its    governing
                                                                               governing body,
                                                                                             body, or  or     as
                                                                                                              as  otherwise
                                                                                                                  otherwise
                   designated consistent with         state law,
                                              with state      law, but
                                                                     but at at a minimum        include those
                                                                                  minimum include
                                                                                    a                               officers
                                                                                                             those officers
                  .required  by applicable
                   required by   applicable law,              Corporation's top.
                                                       The Corporation's
                                                law. The                                Management official
                                                                                  top ..management        official and   top
                                                                                                                    and top
                  financial
                   financial official
                              official (the,
                                        (the person 4ho has
                                               person    who     has Ultimate,responsibility for . managing the
                                                                      ultimate     responsibility     for    managing    the

                  Corporation's     finances) are
                   Corporation's finances)       are included
                                                     included as  as officers:
                                                                     officers.

        c.
        c.        Key
                  Key Employee
                         Employee —     - An      employee of
                                            An employee          of thethe Corporation
                                                                               Corporation who   who meets
                                                                                                       meets all all three
                                                                                                                      three of of the
                                                                                                                                   the
                  foilOwing tests: (a)
                  following     tests:  (a) $100,091) Test —
                                              $100,000       Test    -   receives      reportable
                                                                                       reportable    compensation
                                                                                                     compensation           from
                                                                                                                            from   the.
                                                                                                                                   the
                  Corporation tald
                  Corporation        and allall related entities
                                                               entities in    in excess
                                                                                   excess      of $100,000 for
                                                                                              of                   for thethe year;
                                                                                                                                year;
                  (b) Responsibility
                  (b)   Responsibility TestTest -— the
                                                    the employee
                                                          employee (i)      (i) has   responsibility, powers, or
                                                                                 has responSibility,                  or influence
                                                                                                                           influence
                  ever
                  over the
                         the Corporation
                              Corporation as    as a whole
                                                       whole that
                                                         a       that is  is similar
                                                                               similar to to those
                                                                                             those of
                                                                                                    of officers,
                                                                                                        officers, directors,
                                                                                                                      directors, or  or

                  trustees,
                  trustees, (ii)
                               (ii) manages
                                     manages       a discrete
                                                     adiscrete segment
                                                                   segment or       or , activity
                                                                                         activity of    the Corporation
                                                                                                    of the     Corporation that   that
                  represents 10%  10% or or more
                                               more of of its
                                                            its activities,
                                                                 activities, assets;assets, income,
                                                                                               income, or  or expenses
                                                                                                                expenses       of
                                                                                                                               of the
                                                                                                                                   the
                  Corporation, as CoMpared to the
                  Corporation,       as compared       to   the   Corporation
                                                                  Corporation          as
                                                                                        asa a  whole,
                                                                                               whole,   or
                                                                                                        or   (iii)
                                                                                                             (iii)  has
                                                                                                                    has    or
                                                                                                                           or  shares
                                                                                                                               shares
                  authority
                  authority to  to control
                                     control or or determine
                                                     determine 10%     10% or        more of
                                                                                 or more          the Corporation's
                                                                                              of the    Corporation's capital  capital
                  eXpenditures,
                  expenditures, operating
                                      operating budget,
                                                    budget, or  or cotripensation
                                                                    compensation for        for employees; and    and (c)     Top 21)
                                                                                                                        (c) Top     20
                  Teal -- is one of :the 20 employees "(that satisfy the
                   Test   -  is    one   of    the   20    employees            (that    satisfy   the   $100,000         Test
                                                                                                                          Test    and
                                                                                                                                  and
                  ResponSibility
                  Responsibility Test), Test) aritli
                                                  with the the                     reportable compensation from
                                                                  highest reportable                                      from the the
                  Corporation
                  Corporation and   and related entities
                                                   entities forfor the
                                                                    the year.
                                                                            year.

        d.
        d.        Disqualified    Person —Any
                  Disqualified Person      - Any person
                                                  person (including
                                                           (including any
                                                                       any management company or or entity
                                                                                                    entity
                  acting
                  acting as
                         as   a 'Constantin or
                                  consultant
                                  a                independent     contractor) in
                                               or independent contractor)      in a poSition to
                                                                                    position  to exercise
                                                                                                  exercise
                                                                                                     a


                  substantial
                  substantial - influence.
                                influence over the
                                                 the affairs   of the
                                                      affairs of  the Corpotation.
                                                                      Corporation. TO
                                                                                    To be
                                                                                        be "a disqualified
                                                                                              disqualified        a




    See  An Introduction
    See An  Introduction 0.
                          to LICC.
                             1.R.C. 4958  (Intermediate Sanenoas)
                                    4958 (intermediate               by Lawrence
                                                          Sanctions) by I.awrence  M.-  Brauer, Toussaint
                                                                                   M. Braver,   Toussaint T.
                                                                                                           T. Tyson,
                                                                                                              Tyson;
i




    leonard J, liertikO:and
    Leonard  J.             Debra J kaweelti,
               IIenzke and Debra     Kawecki, (2002
                                      J.       (2002 EO(:)CPE.Text;page.2:51,.)e   "Introduction to I.R.C. 4951
                                                          CPF Text, page 259) (the "bitr001400:81tO"riCC,      111.
                                                                                                           4958").




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                                                                 I

                                                                                                                                  SFFA 000091
                                                                                                                                  SFFA 000091

                                                                                                                        EXHIBIT L, PAGE 24
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                                    CONFIDENTIAL
                                    CONFIDENTIAL
                                                                                     Adopted on August
                                                                                     Adopted on August 6,.2014
                                                                                                          20/4
                                                                                                         6,




           person, itit is
                        is not
                           not necessary
                                necessary that
                                           that the
                                                the person
                                                    person actually
                                                           actually exercise
                                                                    exercise ,substantial
                                                                              substantial influence,
                                                                                           influence,
           only-that   the person
           only that the    person be
                                    be in
                                       in aposition
                                          a position to
                                                     to vkettieg
                                                        exercise kbatakitiat influence. (See
                                                                 substantial influence,  (See Treas..
                                                                                                Treas.
           Reg,
           Reg. §
                § $3.4958-3T).
                  53.4958-3T).

2.
2.   Compensation Review
     Compensation Review Process
                         Process

     a.
     a.    Review
           Review andand Approvid.
                            Approval. The  The comp-  mu-atilt& of
                                                compensation        the Chief Employed
                                                                of the;                        Executive and
                                                                                 Employed Executive          and
           each   Officer, Ker.
           each Officer,       Key Employee
                                      Employee or  or Disqualified PersonPerson -shill
                                                                                   shall bebe reviewed and
                                                                                               reviewed      and
           approved by the
           appmiled            the Board
                                     Board of      Directors or
                                              of Directors.    or compensation           committee of
                                                                    compensation committee               of the
                                                                                                              the
           Corporation, -provided
           Corporation,      provided that    directors or other
                                         that directoor      other persons
                                                                     persons with       conflicts of interest
                                                                                with conflicts          interest
           with
           with respect
                 respect to    the compensation
                           to the  compensation arrangement
                                                    arrangement at     issue shall
                                                                   at issue   shall not   be involved in
                                                                                      not be:involved     in this
                                                                                                             this
           review
           review and
                    and approval.
                         approval.
                              —
     b.              Comparable Compensation
                 of Comparable
           Use Of.
           Use                          Compensation Data.  Data.     The compensation
                                                                      The    compensation of        the Chief
                                                                                                of the     Chief
           Employed      Executive and
           Employed ExeoutiVo                each Officer,
                                       and each     Officer, Key.    Employee or
                                                              Key Employee              Disqualified Person
                                                                                    or Disqualified      Person
           shall be
           shall  be reviewed
                      reviewed and       approved using
                                    and Approved     using data
                                                            data as   to comparable compensation for
                                                                  as to                                       for
           similarly qualified persons in
           similarly    qualified    persons    in  functionally   comparable        positions
                                                                                     positions   at
                                                                                                 at  similarly
                                                                                                      similarly
           situated
           situated entities:
                     entities.

     c.
     c.    Contemporaneous Documentation and
           Contemperaneous                                      Recordkeeping. There shall
                                                          and Recordkeeping,                  shall    be
                                                                                                       be

           contemporaneous documentatiOn and reconikeeping
           contemporaneous        documentation        and   recordkeeping    with
                                                                              with    respect
                                                                                      respect   to
                                                                                                to    the
                                                                                                      the
                           and decisiontregarding
           deliberations and
           deliberations        decisions regarding :the the compensation   arrangement. The
                                                             compensation arrangement       The board
                                                                                                   board
                directors or
           of directors      or   compensation committee
                                  oompenstuion                     evaluating such
                                                      committee evaluating       such    compensation
           arrangement
           arrangement May,may, but   shall tititheItquired,
                                 but shall   not be requircd, toto use the "Rebuttable
                                                                   use the  "Rebuttable Presumption
           Checklist" or
           Checklist"             tools set -forth-in
                        or other toolkset             the Introduction to
                                             forth in the              to I.R.C.
                                                                          1.R.C. 4958.
                                                                                  4958.




                                                                                                              SFFA
                                                                                                              SFFA 000092
                                                                                                                   000092

                                                                                                     EXHIBIT L, PAGE 25
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                            EXHIBIT D
                            EXHIBIT D


                      Document Retention Policy
                      Document            Policy
                           (see
                           (see attached)




                                                                    SF FA 000093
                                                                    SFFA  000093

                                                             EXHIBIT L, PAGE 26
      Case 1:20-cv-00763-RP Document 45-12 Filed 03/08/21 Page 27 of 30
                                      CONFIDENTIAL
                                      CONFIDENTIAL
                                                                                    Adopted
                                                                                        .g44August
                                                                                    AdoPt           6, 20H
                                                                                            {14:1441•4 2014


                          STUDENTS
                          STUDENTS FOR.
                                   FOR FAIR.
                                        FAIR Al)MISSIONS,
                                             ADMISSIONS, TNC.
                                                          INC.

                           Document
                           Document Retention
                                    Retention and
                                              and Destruction
                                                  Destruction Policy
                                                              Poliev


        This
        This Documerrt
                Document Retention             Destruction Policy
                                          and Deatmetion.
                             Retention -and                  Policy identifies
                                                                     identifies the    record retention
                                                                                 the record,
responsibilities
responsibilities of  directors, Uffteets;.
                  of direetorsi            employees, volunteers,
                                officers, effiguyetsi volunteers, and
                                                                   and outaide  agents and vendors of
                                                                       outside agents
Students
Students for
          for Fair,
                Fair Adiniiiions,
                     Admissions, Inc:
                                    Inc. (the "Corporation") for
                                         (the "Corporation".)  for Maintaining
                                                                   maintaining and     documenting the
                                                                                 and • dtitt4ottpting the
storage and
        and deuttuution.
              destruction of:the Corporation's paper
                          of the Corponttiotes  paper and  electronic documents-and•records.
                                                       and eleCtronic documents and records.

       1..
        1.     Rules. The
               Rules.   The e -MoratinWs directors,
                              Corporation's   directors, -officers,             consultants, Vendors,
                                                          officers, employees, .constiltants, vendors,
and
and volurneeriare
    volunteers are required
                   required to-honor  the following
                            to honor the  following rules
                                                      rules:

        a.
        av      All
                All documents
                     documents oror records containing"    information concerning
                                             containing ""information     concerning the
                                                                                      the Corporation
                                                                                           Corporation
                should be
                        be closely
                           closely guarded -and
                                            and considered
                                                 considered as as Containing  confidential inforination
                                                                   containing confidential information
                not
                not to be disseminated
                    to be disseminated Or
                                       or distribtited
                                          distributed outside
                                                       outside ofof the
                                                                    the Corporation.
                                                                        Corporation.

        b.
        b.      No paper
                No         or electronic
                    paper or                            be destroyed or
                                                   will be
                              electronic documents Will               or deleted
                                                                         deleted if pertinent to
                                                                                 if pertinent to any
                                                                                                  any
                ongoing or
                ongoing   or anticipated
                              anticipated government
                                          government investigation
                                                      investigation or
                                                                    or proceeding oror any   civil -or
                                                                                        any civil   or

                criminal judicial proceeding.
                criminal judicial  proceeding.

        c.
        c.      Paper  or electronic
                Paper or  electronic doctiments   listed for
                                      documents listed    for retention below will
                                                              retention below will be"
                                                                                   be transferred and
                                                                                                  and
                maintained by
                maintained      the President or
                            by the               his designee.
                                              or his  designee.

        d.
        d.      All Other:paper
                All.             documents that
                     other paper documents   that do not fall
                                                  do not fall under the
                                                                    the retention schedule below
                                                                        retention schedule below will
                                                                                                 will
                be
                be de stroyed after three
                   destroyed        three years,
                                          years.

        e,
        e.      All
                All other  electronic documents that
                    other eleettonie              that are   not currently
                                                        are not   currently being
                                                                             being used
                                                                                     used and   do not
                                                                                           and do  not fall
                                                                                                       fall
                       the retention
                under the
                ended*                schedule below
                           retention schedule  below will bebe deleted from
                                                                         from all
                                                                               all individual
                                                                                   individual .tOmputers,
                                                                                               computers,
                databases, netWOrks;
                databases;  networks, and
                                       and back-up  storage
                                                    storage   after one
                                                                    one year.
                                                                        year.          ---

2.
2.      Retain Permaftztly
        Retain Permanently

        a.
        a.      Governance records
                COVernalice    records —     Articles of
                                          - Articles    of Incorporation
                                                            Incorporation and.
                                                                           and    Bylaws;  and any
                                                                                  Bylaws, and   any
                amendments thereto, other organizational
                amendriaerits;thereto,                        documents, polities,
                                              organizational documents,   policies, goVenting
                                                                                    governing board
                and committee
                and             written contents
                    committee written             and minutes.
                                        consents and  minutes.

        b.      Tax records
                Tax   records —                  and state
                                 Filed federal and
                               - Filed                        tax returns/reports
                                                      state tax     returns/reports And supporting records,
                                                                                    and supporting
                             for tax
                application for
                application      tax exerriPtion,
                                      exemption, tax       exemption determination
                                                     tax exemption         determination letter
                                                                                         letter and
                                                                                                and related
                correspondence,   and
                correspondence, and anyany;tiiles
                                           files  felated
                                                  related  tortax
                                                           to   tax  audits.
                                                                     audits.

        c,
        c.      Intellectual property records                     trademark registrations
                                                              and trademarlc
                                         records -— Copyright and            registrations and
                                                                                           and
                samples"-of protected works,
                samples of protected  works.

        d.
        d.      Financial
                Financial records.    Audited financial
                           records -— Audited financial statemunts, attorney contingent
                                                        statements, attOrtioy contingent liability
                letters.
                letters, ,




                                                     1
                                                     l



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                                                                                                EXHIBIT L, PAGE 27
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                                      CONFIDENTIAL
                                      CONFIDENTIAL
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                                                                                         Adopted August   6,   -2014
                                                                                                                20/4



3;    Retain
      Retain for
             for 10
                 10 Years
                    Vears

      aa.    ;Pension.
              Pension and
                        and benefit
                              benefit records
                                      records — - Pension (ERISA) plan
                                                           (ERISA) plap4articipmtibene.fiqtarY
                                                                         participant/beneficiary
              records, actuarial
                       actuarial xdPorts,
                                 reports, related correspondence
                                                  correspondence witifkOsMtntient
                                                                 with government agenCiW-and
                                                                                   agencies, and
              supporting
              supporting recerds,
                          records.

      b.     Government Martens
             GOvertinient   relations _retards
                                      records -— Federal and
                                                         and state
                                                             state lobbying reports
                                                                            reports and
                                                                                    and
             supporting
             supporting records.

4.   Retain for 3.
     Retain for 3 Years
                   Years

      &      ..FanitilieyerrientplOyment
              Employee/employment records    records —- Employee
                                                          Employee names,
                                                                        names, addresses,      social security
                                                                                  addresses, social     security
              tittrabett,-- dates.of
              numbers, dates of birth,  birth,   INS
                                                 INS   Form
                                                       Form     I-9;
                                                                I-9,  resume/application
                                                                      resume/application       Materials,
                                                                                               materials, jobjob
              descriptions;_
              descriptions, dates
                              dates ,of
                                      of hire and
                                               and termitiation/separatien,
                                                    termination/separation, evaluations,
                                                                                 evaluations, compensation
              information, preinntions„
                               promotions, transfer%
                                               transfers, - disciplinary matters,
                                                                            matters, timetpayroll
                                                                                       time/payroll records,
                                                                                                        records,
              leavefoomp
              leave/comp        titne/FMLA,
                                time/FMLA,         engagenient
                                                   engagement        and
                                                                     and      discharge
                                                                              discharge     correspondence,
              deetimentrttion
              documentation of       basis for
                                  of basis       independent contractor:status..(retain
                                            for independent      contractor status (retain for for all
                                                                                                    all current
              employees
              employees and and independent contrActers.andfOr
                                                 contractors and for three:years
                                                                         three years after the
                                                                                             the departure of  of

              each
              each individual).
                     individual).

      b.
      b.     Lease,
             Lease, Insurance*
                       Insurance, and and      ontritet/Literist Records
                                              Contract/License      Records -— Software
                                                                                   Software - license
                                                                                                license
             agreements, vendor,
                            vendor, 1104
                                       hotel, "and  service agreements, independent contrattor
                                               and service                                  contractor .
                            employment agreements, consultant
             agreements, employment                         consultant agreements,
                                                                       agreements, andand allall other
                                                                                                   other
             agreements
             agreements (retain
                          (retain during
                                   during the
                                           the term     the agreemcnt
                                               term of the   agreement and
                                                                        and for
                                                                            for three
                                                                                three yearS
                                                                                       years after
                                                                                              after the
                                                                                                     the
             termination,
             termination, expiration,
                           expiration, or  non-renewal of
                                        or tonleneWal     of each
                                                             each agreement).


5.
5.    Retain for 1 Year
      Retain ter   Year
                   1




      All other-
      All other perftnent  electronic records, documents,
                 pertinent electronic          documents, and
                                                          and files,
                                                              files, such as correspondence files,
                                                                     such as                files,
      publications;turveyinformation.
      publications, survey information.

6.    Exceptions
      Exceptions

     Any exceptions
     Any  exceptions to
                      to these   rules and
                         these rides   and the: terms for
                                            the terms  for retention may be
                                                           retention may            only by
                                                                         be granted only by the.
                                                                                            the
     Corporation's.
     Corporation's Predident       Board of
                              or 80ard
                    President or         of Diredorsin
                                            Directors in writing,
                                                         writing.




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                                                                                                           SF FA 000095
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                                                                                                     EXHIBIT L, PAGE 28
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                            EXHIBIT E
                            EXHIBIT E


                        Whistleblower Policy
                        Whistleblower  Policy
                           (see
                           (see attached)




                                                                    SF FA 000096
                                                                    SFFA  000096

                                                             EXHIBIT L, PAGE 29
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                                              CONFIDENTIAL
                                              CONFIDENTIAL
                                                                                           Adopted on
                                                                                           Adopted    August 6,
                                                                                                   on August ó, 2019
                                                                                                                2014




                              STUDENTS
                              STUDENTS FOR
                                       FOR FAIR ADMISSIONS,INC,
                                           FAIR ADMISSIONS, INC.

                                              Whistichlower Policy
                                              Whistliblower Poliev



        This
        This Whistleblower.
              Whistleblower Policy
                                 Policy (1)
                                          (1) encourages Students
                                                              Students for Fair
                                                                             Fair Admissions,
                                                                                    Admissions, Inc,
                                                                                                  Inc. (the
                                                                                                          (the
"Corporation")
"Corporation") employees
                 employees and and volunteers
                                    volunteers to
                                                to come
                                                   come forward
                                                           forward with
                                                                     with information on on possible
                                                                                            possible illegal
                                                                                                      illegal
practices
practices or
          or serious
              serious   violations
                        violations of adopted policies
                                                   policies ofof the
                                                                 the Corporation,
                                                                      Corporation, (2)specifies
                                                                                     (2) specifies that
                                                                                                    that the
                                                                                                           the
Corporation
Corporation will protect
                   protect any
                            any such
                                 such person
                                       person from
                                              from retaliation,
                                                     retaliation, and
                                                                   and (3)
                                                                       (3) identifies
                                                                           identifies whereand
                                                                                      where and how
                                                                                                  how such
                                                                                                         such
information can
             can be
                  be reported.


         1.
         1.        Encouragement
                   Encouragement of      Reporting. The-Corporation
                                      of Reporting.     The Corporation encourages complaints, complaints, reports,
                                                                                                             reports,
or
or inquiries
    inquiries about possible
                       possible illegal practices or or serious
                                                        serious violations
                                                                   violations of  of the
                                                                                       the Corporation's
                                                                                            Corporation's policies,
                                                                                                            policies,
including illegal
            illegal or
                    or improper
                        improper conduct by  by the
                                                 the Corporation
                                                     Corporation itself,
                                                                     itself, byby its
                                                                                   its leadership, or
                                                                                                    or by
                                                                                                       by others
                                                                                                           others on
                                                                                                                   on
its behalf.
its  behalf. Appropriate
                 Appropriate subjects
                               subjects to
                                         to report under"     this policy
                                                      under this    policy belittle
                                                                                include financial
                                                                                           financial improprieties,
                                                                                                      improprieties,
accounting
accounting or  or audit
                  audit matters,
                        matters, ethical violationsor
                                          violations, or other similar
                                                                  similar illegal
                                                                            illegal or:improper
                                                                                      or improper practices.
                                                                                                    practices.

        2.
         2.        Proteetiott
                   Protection from
                                from Retaliation.
                                       Retaliation. The       Corporation prohibits
                                                        The Corporation      prohibits retaliation
                                                                                         retaliation by
                                                                                                      by or
                                                                                                          or on on

behalf
behalf of
        of the
             the Corporation
                   Corporation against employees or        volunteers who make
                                                       or volunteers           make good-faith
                                                                                      good-faith complaints,
                                                                                                    complaints,
reports,
reports, or   inquiries under this
          or inquiries          this Policy
                                     Policy or-who
                                              or who participate
                                                      participate ina
                                                                   in    review
                                                                         review or
                                                                           a      or investigation
                                                                                     investigation under this this
Policy.
Policy. This protection
          This   protection  extends to
                                     to thoseWhose allegationn-atimade in
                                         those  whose  allegations   are made   in good
                                                                                   good faith but prove to be
                                                                                          faith but prove  to   be
mistaken. The Corporation
                      Corporation reserves tlie the right  to discipline
                                                    right to   discipline persons
                                                                            persons   who
                                                                                       who make
                                                                                              make bad
                                                                                                     bad faith,
                                                                                                           faith,
knowingly false,
               false, or
                      or vexatious
                          vexatious complaints,
                                      complaints, reports, or or inquiries
                                                                  inquiries oror who
                                                                                  who otherwise abuseabuse this
                                                                                                              this
Policy.
Policy.

         3.
         3.         Where
                     Where to to Report.       Complaints, reports, or
                                   Report. Complaints,                     or inquiries
                                                                               inquiries may
                                                                                           may bebe made
                                                                                                     made under this
                                                                                                                   this
Policy_
Policy onon a confidential or
             a                   or anonymous
                                     anonymous baiis;
                                                   basis.     Complaints should
                                                             Complaints      should describe in in detail the
                                                                                                           the specific
                                                                                                               specific
facts  demonstrating the
facts denionstrating       the bases
                                 bases for    the complainti,
                                         for the   complaints, reports;
                                                                    reports, oror inquiries.
                                                                                  inquiries. Complaints
                                                                                                 Complaints maymay bebe

directed
directed to to the   Corporation's President;
               the Corporation's-      President; if this
                                                       this person
                                                              person isis implicated
                                                                          implicated in  in the complaint, report, or
                                                                                            the complaint,           or

inquiry, then
           then itit should
                     should be    directed to
                             be directed    to any
                                                any otherMember
                                                     other member of the         Corporation's Board of
                                                                            the Corporation's            of Directors.
                                                                                                             Directors.
The   Corporation will - conduct
The Corporation                                prompt, discreet, and
                                conduct a prompt,-
                                          a                                   objective review or
                                                                        and objective--review        or investigation.
                                                                                                        investigation.
Employees
Employees or   or volunteern      must recognize that
                    volunteers muStrecognize                the Corporation
                                                     that the   Corporation may        be unable to
                                                                                 may he-unable     to fully evaluate a
                                                                                                                     a


vague oror general complaint,
                       complaint, report,    or inquiry
                                     report, or  inquiry that
                                                           that is
                                                                 is made
                                                                    made anonymou-
                                                                           anonymously. sly-. -




                                                                                                                SFFA
                                                                                                                SFFA 000097
                                                                                                                     000097

                                                                                                          EXHIBIT L, PAGE 30
